Case 19-40883         Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33          Main Document
                                               Pg 1 of 70


                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

  In re:                                          )   Case No. 19-40883-659
                                                  )   Chapter 11
  PAYLESS HOLDINGS LLC, et al.,                   )
                                                  )
                                                  )   Jointly Administered
                           Debtors.               )
                                                  )   Related Docket No.: 61


                INTERIM ORDER PURSUANT TO 11 U.S.C. §§ 105,
             361, 362, 363,364, 507 AND 552 (1) AUTHORIZING USE OF
         CASH COLLATERAL, (2) GRANTING ADEQUATE PROTECTION,
   (3) MODIFYING AUTOMATIC STAY, AND (4) SCHEDULING A FINAL HEARING

           THIS MATTER having come before the Court upon the motion (the “Motion”) of

 Payless Inc. (the “Lead Borrower”) on behalf of itself and its affiliated debtors and debtors-in-

 possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (collectively,

 the “Cases”), seeking entry of an interim order (the “Interim Order”), and a Final Order (as

 defined herein) pursuant to Sections 105, 361, 362, 363, 364(c)(l), 364(c)(2), 364(c)(3), 364(d),

 364(e), 507, and 552 of chapter 11 of title 11 of the United States Code (the “Bankruptcy

 Code”) and Rules 2002, 4001, 6004, and 9014 of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”), inter alia:

           (i)     authorizing the Debtors’ use of the Cash Collateral (as defined in Section 363(a)

 of the Bankruptcy Code) of the Prepetition Credit Parties (as defined herein);

           (ii)    providing adequate protection to the Prepetition Credit Parties (as defined below)

 for any Diminution in Value (as defined below) to the extent set forth herein;

           (iii)   vacating and modifying the automatic stay imposed by Section 362 of the

 Bankruptcy Code to the extent necessary to implement and effectuate the terms and provisions of

 this Interim Order; and
Case 19-40883      Doc 138      Filed 02/20/19 Entered 02/20/19 17:04:33            Main Document
                                             Pg 2 of 70


        (iv)    scheduling a final hearing (the “Final Hearing”) to consider the relief requested

 in the Motion and approving the form of notice with respect to the Final Hearing.

        The Court having considered the Motion, the Declaration of Stephen Marotta, the

 Debtors’ Chief Restructuring Officer, in support of the chapter 11 petitions and “first day”

 motions, including the Motion, the exhibits attached thereto, and the arguments of counsel made

 at the interim hearing held on the Motion (the “Interim Hearing”); and notice of the Interim

 Hearing having been given in accordance with Bankruptcy Rules 4001(b), (c) and (d); and the

 Interim Hearing to consider the interim relief requested in the Motion having been held and

 concluded; and all objections, if any, to the interim relief requested in the Motion having been

 withdrawn, resolved or overruled by the Court; and it appearing to the Court that granting the

 interim relief requested is necessary to avoid immediate and irreparable harm to the Debtors and

 their estates pending the Final Hearing, and otherwise is fair and reasonable and in the best

 interests of the Debtors, their estates, and their creditors and equity holders, and is essential for

 the continued operation of the Debtors’ businesses; and after due deliberation and consideration,

 and for good and sufficient cause appearing therefor;

        BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING BY

 THE DEBTORS, INCLUDING THE SUBMISSIONS OF DECLARATIONS AND THE

 REPRESENTATIONS OF COUNSEL, THE COURT HEREBY MAKES THE FOLLOWING

 FINDINGS OF FACT AND CONCLUSIONS OF LAW:

        A.      Petition Date. On February 18, 2019 (the “Petition Date”), the Debtors filed

 voluntary petitions under chapter 11 of the Bankruptcy Code in the United States Bankruptcy

 Court for the Eastern District of Missouri (the “Court”) commencing the Cases.




                                                 -2-
Case 19-40883      Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                            Pg 3 of 70


        B.      Debtors in Possession.    The Debtors are continuing in the management and

 operation of their businesses and properties as debtors in possession pursuant to Sections 1107

 and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in these Cases.

        C.      Jurisdiction and Venue. This Court has jurisdiction over the persons and property

 affected hereby pursuant to 28 U.S.C. §§ 157(b) and 1334. Consideration of the Motion

 constitutes a core proceeding under 28 U.S.C. § 157(b)(2). Venue for the Cases and proceedings

 on the Motion is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

        D.      Committee Formation. As of the date hereof, the Office of the United States

 Trustee (the “U.S. Trustee”) has not yet appointed any official committee in the Cases pursuant

 to Section 1102 of the Bankruptcy Code (each, a “Statutory Committee”).

        E.      Canadian Proceeding. On February 19, 2019, Payless ShoeSource Canada Inc., a

 Canadian federal corporation (“Payless Canada”), and Payless ShoeSource Canada GP Inc., a

 Canadian federal corporation (“Payless Canada GP”) and Payless ShoeSource Canada LP, an

 Ontario limited partnership, (together with Payless Canada and Payless Canada GP, collectively,

 the “Payless Canada Entities” and, in their capacity as Debtors under the Cases, the “Canadian

 Debtors”) commenced proceedings in Canada under the Companies’ Creditors Arrangement Act

 (Canada), R.S.C. 1985, c C-36, as amended (the “Canadian Case”) in the Ontario Superior

 Court of Justice (Commercial List) (the “Canadian Court”).

        F.      The Debtors have commenced store closures and related dispositions of inventory

 and other assets at all store locations in North America (the “Store Closing Sales”) and, in

 connection therewith, have engaged a joint venture of Great American Group, LLC, a California

 limited liability company, and Tiger Capital Group, LLC, a Massachusetts limited liability

 company (the “Liquidation Consultant”) as a consultant to conduct the Store Closing Sales




                                                -3-
Case 19-40883         Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33                   Main Document
                                               Pg 4 of 70


 pursuant to that certain Store Closing Program–Consulting Agreement, dated as of February 12,

 2019, by and among, inter alios, Payless Holdings, LLC, Payless Canada GP, and the

 Liquidation Consultant (together with (x) all material documents relating thereto and (y) all

 exhibits, annexes and schedules thereto, in each case, as may be amended, restated,

 supplemented or otherwise modified from time to time with the consent of the Prepetition Agents

 (as defined herein) (which consent shall not unreasonably be withheld, delayed or conditioned), the

 “Liquidation Consulting Agreement”).

        G.      Debtors’ Stipulations.        After consultation with their attorneys and financial

 advisors, and without prejudice to the rights of parties in interest as set forth in paragraph 22

 herein, the Debtors, on their behalf and on behalf of their estates, admit, stipulate, acknowledge

 and agree as follows (paragraphs G(i) through G(xi) below are referred to herein, collectively, as

 the “Debtors’ Stipulations”):

                (i)      Prepetition ABL Credit Facility.               Pursuant to that certain Credit

 Agreement, dated as of August 10, 2017 (as amended, restated, supplemented or otherwise

 modified prior to the Petition Date, the “Prepetition ABL Credit Agreement” and collectively

 with any other agreements and documents executed or delivered in connection therewith, each as

 may be amended, restated, supplemented, or otherwise modified in accordance with the terms

 thereof, the “Prepetition ABL Credit Documents”),1 among (a) the Lead Borrower, (b) the

 other Borrowers, (c) the Guarantors (collectively with the Lead Borrower and the other

 Borrowers, the “Prepetition ABL Loan Parties”), (d) Wells Fargo Bank, National Association,

 in its capacities as (x) administrative agent and collateral agent for the Lenders (the “Prepetition

 ABL Administrative Agent”) and (y) FILO Agent for the FILO Lenders (collectively, together

 1
        Capitalized terms used and not otherwise defined herein shall have the meanings ascribed to such terms in
        the applicable Prepetition Documents (as defined herein) or the Motion, as applicable.



                                                      -4-
Case 19-40883          Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33         Main Document
                                              Pg 5 of 70


 with the Prepetition ABL Administrative Agent, the “Prepetition ABL Agents”), and (e) the

 lenders party thereto from time to time (the “Prepetition ABL Lenders” and, together with the

 Prepetition ABL Agents and other “Credit Parties” (as defined in the Prepetition ABL Credit

 Agreement), the “Prepetition ABL Credit Parties”), the Prepetition ABL Lenders provided

 revolving credit facility, a FILO loan and other financial accommodations to, and issued letters

 of credit for the account of, the Borrowers pursuant to the Prepetition ABL Credit Documents

 (the “Prepetition ABL Facility”).

                (ii)      Prepetition ABL Obligations. The Prepetition ABL Lenders provided the

 Borrowers with, among other things, (y) $250,000,000 in aggregate maximum principal amount

 of revolving loan commitments, including letter of credit and swingline loan commitments, with

 a sublimit for letters of credit of $50,000,000, and (z) $35,000,000 in aggregate maximum

 principal amount of FILO loan commitments. As of the Petition Date, the aggregate principal

 amount of “Revolving Loans” and “FILO Loans” outstanding under the Prepetition ABL Facility

 was not less than $159,274,110.50, and the aggregate undrawn amount of all outstanding

 “Letters of Credit” under the Prepetition ABL Facility was not less than $35,820,933.13 (each as

 defined in the Prepetition ABL Credit Agreement) (collectively, together with accrued and

 unpaid interest thereon, and outstanding letters of credit fees, any reimbursement obligations

 (contingent or otherwise) in respect of letters of credit, any fees, expenses and disbursements

 (including, without limitation, attorneys’ fees, accountants’ fees, auditor fees, appraisers’ fees

 and financial advisors’ fees, and related expenses and disbursements), treasury, cash

 management, bank product and derivative obligations, indemnification obligations, guarantee

 obligations, and other charges, amounts and costs of whatever nature owing, whether or not

 contingent, whenever arising, accrued, accruing, due, owing, or chargeable in respect of any of




                                                -5-
Case 19-40883       Doc 138      Filed 02/20/19 Entered 02/20/19 17:04:33                   Main Document
                                              Pg 6 of 70


 the Borrower’s and the Guarantors’ obligations pursuant to the Prepetition ABL Credit

 Documents, including all “Obligations” (as defined in the Prepetition ABL Credit Agreement),

 the “Prepetition ABL Obligations”).2

                (iii)    Prepetition ABL Liens and Prepetition ABL Priority Collateral. As more

 fully set forth in the Prepetition ABL Credit Documents, prior to the Petition Date, the

 Borrowers and certain of the Guarantors granted to the Prepetition ABL Administrative Agent,

 for the benefit of itself and the Prepetition ABL Lenders, a security interest in and continuing

 lien on (the “Prepetition ABL Liens”) substantially all of their assets and property, including,

 without limitation, (a) a first priority security interest in and continuing lien on the “ABL Priority

 Collateral” (as defined in the Existing Intercreditor Agreement) (as defined herein) and all

 proceeds, products, accessions, rents, and profits thereof, in each case whether then owned or

 existing or thereafter acquired or arising (collectively, the “Prepetition ABL Priority

 Collateral”), and (b) a second priority security interest in and continuing lien on the “Term

 Priority Collateral” (as defined in the Existing Intercreditor Agreement) and proceeds and

 products thereof (collectively, the “Prepetition Term Priority Collateral,” and together with

 the Prepetition ABL Priority Collateral, the “Prepetition Collateral”).

                (iv)     Prepetition Term Loan Agreement. Pursuant to that certain Term Loan

 and Guarantee Agreement, dated as of August 10, 2017 (as amended, restated, supplemented or

 otherwise modified prior to the Petition Date, the “Prepetition Term Loan Agreement” and,

 together with any other agreements and documents executed or delivered in connection

 therewith, each as may be amended, restated, supplemented or otherwise modified prior to the

 2
        Together with any Obligations (as defined in the Prepetition ABL Credit Agreement) arising, accrued,
        accruing, due, owing or chargeable on or after the Petition Date in accordance with the Prepetition ABL
        Credit Documents, this Interim Order and any Final Order (such Obligations, the “Post-Petition ABL
        Obligations,” and, together with the Prepetition ABL Obligations, the “ABL Obligations”).



                                                     -6-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33        Main Document
                                             Pg 7 of 70


 Petition Date, the “Prepetition Term Loan Credit Documents,” and, together with the

 Prepetition ABL Credit Documents and the Existing Intercreditor Agreement referred to below,

 the “Prepetition Documents”)), by and among (a) WBG – PSS Holdings LLC (“Holdings”), (b)

 the Borrowers party thereto (the “Prepetition Term Borrowers”), (c) the Subsidiary Guarantors

 from time to time party thereto (together with Holdings and the Prepetition Term Borrowers,

 collectively, the “Prepetition Term Loan Parties”, and, together with the Prepetition ABL

 Loan Parties, the “Prepetition Loan Parties”), (d) Cortland Products Corp., as Administrative

 Agent and Collateral Agent (in such capacities, the “Prepetition Term Loan Agent” and,

 together with the Prepetition ABL Agents, the “Prepetition Agents”), and (e) the lenders party

 thereto from time to time (collectively, the “Prepetition Term Loan Lenders” and, together

 with the Prepetition Term Loan Agent, the “Prepetition Term Loan Credit Parties”, and,

 together with the Prepetition Agents and Prepetition ABL Lenders collectively referred to herein

 as the “Prepetition Credit Parties”), the Prepetition Term Loan Lenders provided term loans to

 the Borrowers (the “Prepetition Term Loan Facility,” and, together with the Prepetition ABL

 Facility, the “Prepetition Credit Facilities”).

                (v)      Prepetition Term Loan Obligations. The Prepetition Term Loan Facility

 provided the Borrowers with term loans in the aggregate principal amount of $280,000,000. As

 of the Petition Date, the aggregate principal amount outstanding under the Prepetition Term Loan

 Facility was not less than $277,200,000 (together with accrued and unpaid interest thereon, any

 fees, expenses and disbursements (including, without limitation, attorneys’ fees, accountants’

 fees, appraisers’ fees and financial advisors’ fees, and related expenses and disbursements),

 indemnification obligations, and other charges, amounts and costs of whatever nature owing,

 whether or not contingent, whenever arising, accrued, accruing, due, owing, or chargeable in




                                                   -7-
Case 19-40883      Doc 138      Filed 02/20/19 Entered 02/20/19 17:04:33            Main Document
                                             Pg 8 of 70


 respect of any of the Borrowers’ and the Guarantors’ obligations pursuant to the Prepetition

 Term Loan Credit Documents, including all “Obligations” as defined in the Prepetition Term

 Loan Agreement, the “Prepetition Term Loan Obligations” and, together with the Prepetition

 ABL Obligations, the “Prepetition Obligations”).

                (vi)    Prepetition Term Loan Liens and Prepetition Term Priority Collateral. As

 more fully set forth in the Prepetition Term Loan Credit Documents, prior to the Petition Date,

 the Prepetition Term Loan Parties granted to the Prepetition Term Loan Agent, for the benefit of

 itself and the Prepetition Term Loan Lenders, security interests in and continuing liens on (the

 “Prepetition Term Loan Liens,” and together with the Prepetition ABL Liens, the “Prepetition

 Liens”) substantially all of their assets and property, including, without limitation, (a) first

 priority security interests in and continuing liens on the Term Priority Collateral, and (b) second

 priority security interests in and continuing liens on the Prepetition ABL Priority Collateral.

                (vii)   Priority of Prepetition Liens; Intercreditor Agreement. The Prepetition

 ABL Administrative Agent and the Prepetition Term Loan Agent entered into that certain

 Intercreditor Agreement dated as of August 10, 2017 (as amended, restated, supplemented, or

 otherwise modified in accordance with its terms, the “Existing Intercreditor Agreement”) to

 govern the respective rights, interests, obligations, priority, and positions of the Prepetition ABL

 Lenders and the Prepetition Term Loan Lenders with respect to the assets and properties of the

 Debtors and other applicable obligors.       Each of the Borrowers and Guarantors under the

 Prepetition Documents acknowledged and agreed to the Existing Intercreditor Agreement.

                (viii) Validity, Perfection and Priority of Prepetition ABL Liens and Prepetition

 ABL Obligations. As of the Petition Date(a) the Prepetition ABL Liens on the Prepetition

 Collateral were valid, binding, enforceable, non-avoidable and properly perfected and were




                                                 -8-
Case 19-40883      Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33            Main Document
                                            Pg 9 of 70


 granted to, or for the benefit of, the Prepetition ABL Administrative Agent for the benefit of

 itself and the Prepetition ABL Lenders for fair consideration and reasonably equivalent value;

 (b) the Prepetition ABL Liens were senior in priority over any and all other liens on the

 Prepetition Collateral, subject only to (1) the Prepetition Term Loan Liens on the Prepetition

 Term Priority Collateral, and (2) certain liens otherwise permitted by the Prepetition ABL Credit

 Documents (solely to the extent any such permitted liens were valid, properly perfected, non-

 avoidable and senior in priority to the Prepetition ABL Liens as of the Petition Date, the

 “Prepetition Permitted Priority ABL Liens”); (c) the Prepetition ABL Obligations constitute

 legal, valid, binding, and non-avoidable obligations of the Prepetition ABL Loan Parties

 enforceable in accordance with the terms of the applicable Prepetition ABL Credit Documents;

 (d) no offsets, challenges, objections, defenses, claims or counterclaims of any kind or nature to

 any of the Prepetition ABL Liens or Prepetition ABL Obligations exist, and no portion of the

 Prepetition ABL Liens or Prepetition ABL Obligations is subject to any challenge or defense

 including, without limitation, avoidance, disallowance, disgorgement, recharacterization, or

 subordination (equitable or otherwise) pursuant to the Bankruptcy Code or applicable non-

 bankruptcy law; (e) the Debtors and their estates have no claims, objections, challenges, causes

 of action, and/or choses in action, including without limitation, avoidance claims under Chapter

 5 of the Bankruptcy Code or applicable state law equivalents or actions for recovery or

 disgorgement, against any of the Prepetition ABL Lenders or any of their respective affiliates,

 agents, attorneys, advisors, professionals, officers, directors and employees arising out of, based

 upon or related to the Prepetition ABL Facility; (f) the Debtors have waived, discharged, and

 released any right to challenge any of the Prepetition ABL Obligations, the priority of the

 Debtors’ obligations thereunder, and the validity, extent, and priority of the liens securing the




                                                 -9-
Case 19-40883       Doc 138        Filed 02/20/19 Entered 02/20/19 17:04:33                      Main Document
                                                Pg 10 of 70


 Prepetition ABL Obligations; and (g) the Prepetition ABL Obligations constitute allowed,

 secured claims within the meaning of Sections 502 and 506 of the Bankruptcy Code.

                 (ix)      Validity, Perfection and Priority of Prepetition Term Loan Liens and

 Prepetition Term Loan Obligations. As of the Petition Date: (a) the Prepetition Term Loan Liens

 on the Prepetition Collateral were valid, binding, enforceable, non-avoidable and properly

 perfected and were granted to, or for the benefit of, the Prepetition Term Loan Agent for the

 benefit of Prepetition Term Loan Parties for fair consideration and reasonably equivalent value;

 (b) the Prepetition Term Loan Liens were senior in priority over any and all other liens on the

 Prepetition Collateral, subject only to (1) the Prepetition ABL Liens on the Prepetition ABL

 Priority Collateral and (2) certain liens otherwise permitted by the Prepetition Term Loan Credit

 Documents (solely to the extent any such permitted liens were valid, properly perfected, non-

 avoidable and senior in priority to the Prepetition Term Loan Liens as of the Petition Date, the

 “Prepetition Permitted Priority Term Loan Liens,” and together with the Prepetition

 Permitted Priority ABL Liens, the “Prepetition Permitted Priority Liens”);3 (c) the Prepetition

 Term Loan Obligations constitute legal, valid, binding, and non-avoidable obligations of the

 Prepetition Term Loan Parties enforceable in accordance with the terms of the applicable

 Prepetition Term Loan Credit Documents; (d) no offsets, challenges, objections, defenses, claims

 or counterclaims of any kind or nature to any of the Prepetition Term Loan Liens or Prepetition

 Term Loan Obligations exist, and no portion of the Prepetition Term Loan Liens or Prepetition


 3
        Nothing herein shall constitute a finding or ruling by this Court that any such Prepetition Permitted Priority
        Lien is valid, senior, enforceable, prior, perfected or non-avoidable. Moreover, nothing shall prejudice the
        rights of any party-in-interest, including, but not limited to the Debtors, the Prepetition Agents, the
        Prepetition ABL Lenders, the Prepetition Term Loan Lenders, or any Statutory Committee, to challenge the
        validity, priority, enforceability, seniority, avoidability, perfection or extent of any alleged Prepetition
        Permitted Priority Lien and/or security interests. The right of a seller of goods to reclaim such goods under
        Section 546(c) of the Bankruptcy Code is not a Prepetition Permitted Priority Lien and is expressly subject
        to the Prepetition Liens.



                                                       -10-
Case 19-40883            Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33         Main Document
                                                Pg 11 of 70


 Term Loan Obligations is subject to any challenge or defense including, without limitation,

 avoidance, disallowance, disgorgement, recharacterization, or subordination (equitable or

 otherwise) pursuant to the Bankruptcy Code or applicable non-bankruptcy law; (e) the Debtors

 and their estates have no claims, objections, challenges, causes of action, and/or choses in action,

 including without limitation, avoidance claims under Chapter 5 of the Bankruptcy Code or

 applicable state law equivalents or actions for recovery or disgorgement, against any of the

 Prepetition Term Loan Lenders, or any of their respective affiliates, agents, attorneys, advisors,

 professionals, officers, directors and employees arising out of, based upon or related to the

 Prepetition Term Loan Facility; (f) the Debtors have waived, discharged, and released any right

 to challenge any of the Prepetition Term Loan Obligations, the priority of the Debtors’

 obligations thereunder, and the validity, extent, and priority of the liens securing the Prepetition

 Term Loan Obligations; and (g) the Prepetition Term Loan Obligations constitute allowed,

 secured claims within the meaning of Sections 502 and 506 of the Bankruptcy Code.

                   (x)      Default by the Debtors. The Debtors acknowledge and stipulate that (a)

 prior to the Petition Date the Prepetition Loan Parties were in default of their obligations under

 the Prepetition ABL Credit Documents, all Commitments of the ABL Loan Parties were properly

 terminated and the Prepetition ABL Obligations were properly accelerated and (b) the

 Prepetition Term Loan Parties are in default of their obligations under the Prepetition Term Loan

 Credit Documents.

                   (xi)     Cash Collateral. All of the Debtors’ cash, including the cash in their

 deposit accounts, wherever located, whether as original collateral or proceeds of other

 Prepetition Collateral, constitutes Cash Collateral and is Prepetition Collateral of the Prepetition

 Credit Parties.




                                                  -11-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33         Main Document
                                             Pg 12 of 70


               (xii)     Release by the Debtors. Subject only to paragraph 22 of this Interim

 Order, the Debtors, on their own behalf and on behalf of their respective successors and assigns,

 hereby waive, release and discharge the Prepetition Credit Parties, and all of their respective

 affiliates, and all of the directors, officers, employees, attorneys, representatives, agents,

 predecessors, successors and assigns of the Prepetition Credit Parties and such affiliates, from

 any and all claims, demands, actions or causes of action (known and unknown) arising out of or

 in any way relating to any of the Prepetition Documents, the Prepetition Obligations, the

 Prepetition Liens, and the Prepetition Collateral, to the extent arising on or prior to the date

 hereof, including but not limited to, claims or challenges under Bankruptcy Code Section 105 or

 Chapter 5 of the Bankruptcy Code.

        H.     Findings Regarding the Use of Cash Collateral.

               (i)       Request for Use of Cash Collateral. The Debtors seek authority to use

 Cash Collateral on the terms described herein to administer the Cases and fund their operations

 in accordance with the Budget (as defined herein), this Interim Order and any Final Order. At

 the Final Hearing, the Debtors will seek final approval of the proposed use of Cash Collateral

 pursuant to a proposed final order which shall be on terms and conditions acceptable to the

 Prepetition Agents (the “Final Order”). Notice of the Final Hearing and Final Order will be

 provided in accordance with this Interim Order.

               (ii)      Need for Use of Cash Collateral.      The Debtors’ need to use Cash

 Collateral is immediate and critical to enable the Debtors to continue operations and to

 administer and preserve the value of their estates. The ability of the Debtors to maintain

 business relationships, pay their employees, protect the value of their assets, and otherwise

 finance their operations requires the availability of funds from the use of Cash Collateral, the




                                               -12-
Case 19-40883       Doc 138    Filed 02/20/19 Entered 02/20/19 17:04:33            Main Document
                                            Pg 13 of 70


 absence of which would immediately and irreparably harm the Debtors, their estates, their

 creditors, and equity holders. The Debtors do not have sufficient available sources of funds and

 financing to operate their businesses or to maintain their properties in the ordinary course of

 business without the authorized use of Cash Collateral.

                (iii)   Use of Proceeds of Cash Collateral. As a condition to the authorization to

 use Cash Collateral, the Prepetition Credit Parties require, and the Debtors have agreed, that

 Cash Collateral shall be used solely (a) in accordance with the budget (a summary of which is

 attached as Exhibit A hereto), as the same may be amended, supplemented, or otherwise

 modified from time to time with the prior written consent of the Prepetition Agents; provided,

 however, prior to the payment in full, in cash, of the ABL Obligations, only the consent of the

 Prepetition ABL Agents shall be required to approve any amendments, supplements or

 modifications of the Budget which pertain to the Store Closing Sales, including the line item

 “Liquidator Expenses”; provided, further, that the Prepetition ABL Agents shall consult with the

 Prepetition Term Loan Agent and AlixPartners, LLP on not less than one (1) Business Day’s

 notice prior to consenting to such amendments, supplements or modifications (as so amended,

 supplemented or otherwise modified from time to time, the “Budget”), and, (b) solely with

 respect to the Payless Canada Entities, in accordance with the budget (a summary of which is

 attached as Exhibit B hereto), as the same may be amended, supplemented, or otherwise

 modified from time to time with the prior written consent of the Prepetition Agents; provided,

 however, prior to the payment in full, in cash, of the ABL Obligations, only the consent of the

 Prepetition ABL Agents shall be required to approve any amendments, supplements or

 modifications of the Canadian Budget which pertain to the Store Closing Sales, including the

 line item “Liquidator Expenses”, and provided, further, that the Prepetition ABL Agents shall




                                                -13-
Case 19-40883      Doc 138      Filed 02/20/19 Entered 02/20/19 17:04:33            Main Document
                                             Pg 14 of 70


 consult with the Prepetition Term Loan Agent and AlixPartners, LLP on not less than one (1)

 Business Day’s notice prior to consenting to such amendments, supplements or modifications (as

 so amended, supplemented or otherwise modified from time to time, the “Canadian Budget”),

 and, in each instance, subject to such variances as may be permitted thereby, by this Interim

 Order and by any Final Order, solely for (i) post-petition operating expenses and other working

 capital needs and all other amounts authorized by any “first day” orders, (ii) certain transaction

 fees and expenses, (iii) permitted payment of costs of administration of the Cases, including

 professional fees, (iv) the Adequate Protection Payments (as defined in paragraph 4(a) herein),

 (v) the payment in full in cash of the ABL Obligations, subject to the rights preserved in

 paragraph 22 of this Interim Order; and (vi) payment of the Carve Out (as defined herein), which

 shall be in accordance with paragraph 18 of this Interim Order.

        I.      Adequate Protection. The Prepetition ABL Agents, for the benefit of themselves

 and the other Prepetition ABL Credit Parties, and the Prepetition Term Loan Agent, for the

 benefit of the Prepetition Term Loan Credit Parties, are each entitled to receive adequate

 protection pursuant to sections 361, 363, 364 and 507(b) of the Bankruptcy Code, as set forth in

 paragraphs 4, 5, 8, 9 and 23 below for any diminution in value of each of their respective

 interests in the Prepetition Collateral (including Cash Collateral), including as a result of the

 imposition of the automatic stay, the Debtors’ use, sale or lease of the Prepetition Collateral,

 including Cash Collateral, and the subordination of the Prepetition Liens to the Carve Out

 (“Diminution in Value”). Pursuant to Sections 361, 363, 364 and 507(b) of the Bankruptcy

 Code, as adequate protection: (i) the Prepetition ABL Lenders will receive (a) adequate

 protection liens and superpriority claims, as more fully set forth in paragraph 4 herein, (b)

 current payment of interest on the Prepetition ABL Obligations at the “Default Rate” (as defined




                                                 -14-
Case 19-40883       Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33              Main Document
                                             Pg 15 of 70


 in and set forth under the Prepetition ABL Credit Agreement), fees (including, without

 limitation, all fees set forth in any fee letter), and expenses (including, without limitation, legal

 and other professionals’ fees and expenses of the Prepetition ABL Agents and other Prepetition

 ABL Lenders, whether arising before or after the Petition Date), in each case, to the extent set

 forth under the Prepetition ABL Credit Agreement and (c) principal payments on account of the

 Prepetition ABL Obligations in accordance with paragraph 7 herein; and (ii) the Prepetition

 Term Loan Lenders will receive (a) adequate protection liens and superpriority claims, as more

 fully set forth in paragraph 4 herein and, (b) payment of certain legal and other professional fees

 and expenses subject to and as set forth in paragraph 23 herein.

        J.      Sections 506(c) and 552(b). In light of the Prepetition Credit Parties’ agreement

 to consent to the use of Cash Collateral in accordance with the Budget, to subordinate the

 Prepetition Liens, Adequate Protection Superpriority Claims and the Adequate Protection Liens

 to the Carve Out, and to fund the Professional Fee Escrow Account (as defined herein), upon

 entry of the Final Order, the Debtors hereby waive and the Prepetition Credit Parties are deemed

 to have received a waiver of (a) the provisions of Section 506(c) of the Bankruptcy Code, and (b)

 any “equities of the case” claims under Section 552(b) of the Bankruptcy Code.

        K.      Good Faith. The terms of the Cash Collateral arrangement described herein are

 fair and reasonable, reflect the Debtors’ exercise of prudent business judgment consistent with

 their fiduciary duties, and are supported by reasonably equivalent value and fair consideration.

 Entry of this Interim Order is in the best interests of the Debtors, their estates, and their creditors

 and equity holders. The terms concerning the Debtors’ use of Cash Collateral, as provided in

 this Interim Order, were negotiated in good faith and at arms’ length between the Debtors and

 the Prepetition Credit Parties, and the Prepetition Credit Parties’ claims, superpriority claims,




                                                  -15-
Case 19-40883      Doc 138      Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                             Pg 16 of 70


 replacement liens and other protections granted pursuant to this Interim Order will have the

 protections provided in Section 364(e) of the Bankruptcy Code and will not be affected by any

 subsequent reversal, modification, vacatur, amendment, reargument or reconsideration of this

 Interim Order or any other order.

        L.      Notice. Notice of the Interim Hearing and the emergency relief requested in the

 Motion has been provided by the Debtors, whether by facsimile, email, overnight courier, or

 hand delivery, to certain parties in interest, including: (a) the U.S. Trustee; (b) the holders of the

 50 largest unsecured claims against the Debtors (on a consolidated basis); (c) counsel to the

 Prepetition ABL Administrative Agent, (i) Choate Hall & Stewart LLP (Attn: Kevin Simard,

 Douglas Gooding and Jonathan Marshall) and (ii) Thompson Coburn LLP (Attn: Mark Bossi);

 (d) counsel to the FILO Agent, Greenberg Traurig, LLP (Attn: Jeffrey M. Wolf); (e) counsel to

 certain Prepetition Term Loan Lenders (i) Kramer Levin Naftalis & Frankel LLP (Attn: Stephen

 D. Zide), (ii) Doster, Ullom & Boyle, LLC (Attn: Gregory D. Willard) and (iii) Stroock &

 Stroock & Lavan LLP (Attn: Kristopher M. Hansen and Daniel A. Fliman); (f) counsel to the

 Prepetition Term Loan Agent, Norton Rose Fulbright US LLP (Attn: Stephen Castro and David

 Rosenzweig) (g) the proposed Monitor, FTI Consulting Canada, Inc.; (h) counsel to the proposed

 Monitor, Bennett Jones LLP; (i) counsel to any statutory committee appointed in the chapter 11

 cases; (j) the United States Attorney’s Office for the Eastern District of Missouri; (k) the Internal

 Revenue Service; (l) the United States Securities and Exchange Commission; (m) the state

 attorneys general for all states in which the Debtors conduct business; and (n) any party that has

 requested notice pursuant to Bankruptcy Rule 2002. The Debtors have made reasonable efforts to

 afford the best notice possible under the circumstances and such notice is good and sufficient to




                                                 -16-
Case 19-40883      Doc 138      Filed 02/20/19 Entered 02/20/19 17:04:33               Main Document
                                             Pg 17 of 70


 permit the interim relief set forth in this Interim Order, and no other or further notice is or shall

 be required.

        M.      Immediate Entry. The Debtors have requested immediate entry of this Interim

 Order pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2). Absent entry of this Interim

 Order, the Debtors’ businesses, properties and estates would be immediately and irreparably

 harmed. This Court concludes that entry of this Interim Order is in the best interests of the

 Debtors’ respective estates and stakeholders.


        Based upon the foregoing findings and conclusions, the Motion and the record before the

 Court with respect to the Motion, and good and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED that:

        1.      Use of Cash Collateral Approved. The use of Cash Collateral on an interim basis

 is authorized, subject to the terms and conditions set forth in this Interim Order.

        2.      Objections Overruled. All objections to the Motion to the extent not withdrawn

 or resolved are hereby overruled.

 Authorization to Use Cash Collateral

        3.      Authorization to Use Cash Collateral. Subject to the terms and conditions of this

 Interim Order, the Debtors are authorized to use Cash Collateral, on an interim basis and in

 accordance with the Budget and Canadian Budget, until the earliest of (x) May 10, 2019 unless

 the ABL Obligations have been paid in, full in cash, on or prior to such date, then July 15, 2019,

 (y) forty five (45) days after the Petition Date unless a Final Order has been entered and (z)

 subject to the provisions of paragraph 17, the fifth (5th) Business Day following written notice

 from the applicable Prepetition Agent of the occurrence of a Termination Event (as defined in

 paragraph 16 herein) (the “Termination Date”); provided, however, that during the Remedies



                                                 -17-
Case 19-40883      Doc 138      Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                             Pg 18 of 70


 Notice Period (as defined herein) the Debtors’ use of Cash Collateral shall be limited solely to

 pay current payroll (other than severance) and to pay accrued expenses critical to the

 preservation of the value of the Debtors and their estates prior to payment in full, in cash, of the

 ABL Obligations as agreed to by the Prepetition ABL Agents (or, after the ABL Obligations

 have been paid in full in cash, the Prepetition Term Loan Agent), each in their sole discretion, as

 applicable. In no event shall the Debtors’ actual disbursements of the type included in the line

 items “Total Operating Disbursements” and “Total Restructuring Disbursements” (without

 giving effect to the line item “Restructuring Professionals” or amounts paid to Restructuring

 Professionals) in any Test Period (as defined herein) exceed 110% of the aggregate amounts

 set forth in the Total Operating Disbursements or Total Restructuring Disbursements (without

 giving effect to the line items “Restructuring Professionals” or “Critical Vendors”) as

 applicable in the then current Budget for such Test Period (the “Expense Covenant”). In no

 event shall the Debtors’ actual receipts of the type included in the line item “Total Receipts” in

 the then current Budget in any Test Period fail to be equal to or greater than 80% of the amount

 set forth under the line item “Total Receipts” in the then current Budget for such Test Period,

 commencing with the first full Test Period following the Petition Date (the “Total Receipts

 Covenant” and, together with the Expense Covenant, collectively, the “Budget Covenant”).

 The Budget Covenant shall be tested as of Friday of each week (commencing with the Friday

 for the second (2nd) full week following the Petition Date) on a cumulative basis from the

 Petition Date through the third (3rd) full week after the Petition Date, and for each week

 thereafter on a rolling four (4) week basis (each, a “Test Period”), pursuant to the Budget

 Variance Report (as defined herein) delivered by the Debtors to the Prepetition Agents in

 accordance with paragraph 12. Nothing in this Interim Order shall authorize the disposition of




                                                 -18-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33            Main Document
                                             Pg 19 of 70


 any assets of the Debtors or their estates outside the ordinary course of business (which shall be

 subject to further Orders of this Court), or the Debtors’ use of any Cash Collateral or other

 proceeds resulting therefrom, except as permitted by this Interim Order and in accordance with

 the Budget and the variances set forth above. Upon the payment in full, in cash, of the ABL

 Obligations, the then-current Budget shall expire and the Debtors shall deliver a new Budget

 that, subject to the approval by the Prepetition Term Loan Agent, shall become the new Budget.

        4.      Adequate Protection Payments and Adequate Protection Liens.

                (a)      Adequate Protection Payments.       The Prepetition ABL Lenders shall

 receive adequate protection in the form of (1) payments of interest and Letter of Credit Fees (as

 defined in the Prepetition ABL Credit Agreement, each of which shall be payable at the

 applicable Default Rate (as defined in and set forth under the Prepetition ABL Credit

 Agreement)), fees (including, without limitation, all fees set forth in any fee letter), costs,

 expenses (including Credit Party Expenses (as defined in the Prepetition ABL Credit Agreement)

 in accordance with paragraph 23 herein), indemnities and other amounts with respect to the

 Prepetition ABL Obligations in accordance with the Prepetition ABL Credit Documents, (2)

 payment of the U.S. Excess Proceeds and Canadian Excess Proceeds as set forth in paragraph

 7(a) below (the preceding clauses (1) and (2), collectively, the “Adequate Protection

 Payments”). Such payments shall be applied in accordance with the Prepetition ABL Credit

 Agreement. The Prepetition Term Loan Lenders shall receive adequate protection in the form of

 the payment of Prepetition Term Loan Agent Fees (as defined herein) and Prepetition Term Loan

 Lenders Fees (as defined herein) strictly in accordance with the Budget and paragraph 23.

                         (b)    Adequate Protection Liens. Pursuant to sections 361, 363 and

 364(d) of the Bankruptcy Code upon entry of this Interim Order and effective as of the Petition




                                                -19-
Case 19-40883      Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33            Main Document
                                            Pg 20 of 70


 Date, the Prepetition ABL Administrative Agent, for the benefit of the Prepetition ABL Lenders,

 and the Prepetition Term Loan Agent, for the benefit of the Prepetition Term Loan Lenders, are

 each hereby granted continuing, valid, binding, enforceable and automatically perfected

 replacement liens on and additional security interests in (the “ABL Adequate Protection Liens”

 and the “Prepetition Term Loan Adequate Protection Liens,” respectively, and, collectively,

 the “Adequate Protection Liens”) any and all presently owned and hereafter acquired assets

 and real and personal property of the Debtors, including, without limitation, the following (the

 “Post-Petition Collateral”): (a) all cash, cash equivalents, deposit accounts, securities accounts,

 accounts, other receivables (including credit card receivables), chattel paper, contract rights,

 inventory (wherever located), instruments, documents, securities (whether or not marketable)

 and investment property (including, without limitation, all of the issued and outstanding capital

 stock of each of its subsidiaries), furniture, fixtures, equipment, goods, franchise rights, trade

 names, trademarks, servicemarks, copyrights, patents, intellectual property, general intangibles,

 rights to the payment of money (including, without limitation, tax refunds and any other

 extraordinary payments), supporting obligations, guarantees, letter of credit rights, commercial

 tort claims, causes of action and all substitutions, books and records related to the foregoing,

 accessions and proceeds of the foregoing, wherever located, including insurance or other

 proceeds, (b) all owned real property interests and all proceeds of leased real property, (c) the

 proceeds of any avoidance actions brought pursuant to Section 549 of the Bankruptcy Code to

 recover any post-petition transfer of Prepetition Collateral and, upon entry of a Final Order,

 proceeds of any other avoidance actions brought pursuant to Chapter 5 of the Bankruptcy Code

 and (d) subject to entry of a Final Order, the Debtors’ rights under Section 506(c) of the

 Bankruptcy Code and the proceeds thereof and including all Prepetition Collateral that was not




                                                -20-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33         Main Document
                                             Pg 21 of 70


 otherwise subject to valid, perfected, enforceable and unavoidable liens on the Petition Date.

 Notwithstanding the foregoing, the Post-Petition Collateral shall not include the Debtors’ real

 property leases but shall include all proceeds of such leases.

                (c)      Priority of Adequate Protection Liens.

                         (i)    Notwithstanding anything to the contrary in the Existing

 Intercreditor Agreement or otherwise, the priority of the Prepetition Liens, the Adequate

 Protection Liens, the Prepetition Permitted Priority Liens and the Carve Out shall be as follows:

 (a) with respect to the Prepetition ABL Priority Collateral: (1) the ABL Carve Out Amount (as

 defined herein), (2) the Prepetition Permitted Priority Liens, (3) the ABL Adequate Protection

 Liens, (4) the Prepetition ABL Liens, (5) the Carve Out less the ABL Carve Out Amount, (6) the

 Prepetition Term Loan Adequate Protection Liens and (7) the Term Loan Prepetition Liens; and

 (b) with respect to the Term Loan Priority Collateral: (1) the Carve Out, (2) the Prepetition

 Permitted Priority Liens, (3) the ABL Adequate Protection Liens with respect to Diminution in

 Value resulting from the use of Cash Collateral not in connection with the disposition of the

 ABL Priority Collateral, but in any event including the amount of any payments by the Debtors

 of all Prepetition Term Loan Lenders’ and Prepetition Term Loan Agent’s legal and other

 professional fees and expenses paid as set forth herein, (4) the Term Loan Adequate Protection

 Liens, (5) the Term Loan Prepetition Liens, (6) the ABL Adequate Protection Liens to the extent

 not satisfied in accordance with clause (3) above, and (7) the Prepetition ABL Liens

                         (ii)   Except as provided herein, the Adequate Protection Liens shall not

 be made subject to or pari passu with any lien or security interest heretofore or hereinafter

 granted in the Cases or any case under chapter 7 of the Bankruptcy Code upon the conversion of

 the Cases (a “Successor Case”), and shall be valid and enforceable against any trustee appointed




                                                 -21-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33          Main Document
                                             Pg 22 of 70


 in any of the Cases or any Successor Case, or upon the dismissal of any of the Cases or any

 Successor Cases; provided that the ABL Adequate Protections Liens (solely with respect to Term

 Loan Priority Collateral) and the Term Loan Adequate Protection Liens shall be subject to any

 liens granted pursuant to a Permitted DIP Financing (as defined herein)           The Adequate

 Protection Liens shall not be subject to Sections 510, 549, or 550 of the Bankruptcy Code. No

 lien or interest avoided and preserved for the benefit of the Debtors’ estates pursuant to section

 551 of the Bankruptcy Code shall be pari passu with or senior to the Prepetition Liens or the

 Adequate Protection Liens.

                (d)      Prepetition Indemnity Account.    Upon entry of the Final Order, the

 Debtors shall establish a segregated non-interest bearing account at Wells Fargo and in the

 control of the Prepetition ABL Administrative Agent (the “Prepetition Indemnity Account”),

 into which the sum of $500,000 of Cash Collateral shall be deposited as security for any

 reimbursement, indemnification, or similar continuing obligations of the Debtors in favor of the

 Prepetition ABL Agents and the other Prepetition ABL Lenders under the Prepetition ABL

 Credit Documents (the “Prepetition Indemnity Obligations”).

                         (i)    The funds in the Prepetition Indemnity Account shall secure all

 costs, expenses, and other amounts (including reasonable and documented attorneys’ fees)

 incurred by the Prepetition ABL Agents and the other Prepetition ABL Lenders, in connection

 with or responding to (1) formal or informal inquiries and/or discovery requests, any adversary

 proceeding, cause of action, objection, claim, defense, or other challenge as contemplated in

 paragraph 22 hereof, or (2) any Challenge (as defined herein) against any Prepetition ABL Agent

 or the other Prepetition ABL Credit Parties related to the Prepetition ABL Credit Documents, the

 Prepetition ABL Liens, or the Prepetition ABL Obligations, whether in the Cases, any Successor




                                               -22-
Case 19-40883      Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33           Main Document
                                            Pg 23 of 70


 Case or independently in any other forum, court, or venue, including, without limitation, in the

 Canadian Case.

                       (ii)    The Prepetition Indemnity Obligations shall be secured by a first

 priority lien on the Prepetition Indemnity Account and the funds therein.

                       (iii)   To the extent the Debtors have not paid the Prepetition Indemnity

 Obligations in accordance with paragraphs 4(a) and 23 herein, the Prepetition ABL Agents and

 the other Prepetition ABL Lenders may apply amounts in the Prepetition Indemnity Account

 against the Prepetition Indemnity Obligations as and when they arise, without further notice to or

 consent from the Debtors, any Statutory Committee, or any other parties in interest and without

 further order of this Court; provided, however, after such application, the Prepetition ABL

 Agents shall endeavor to give notice of such application to counsel to the Debtors and counsel to

 the Prepetition Term Loan Agent.

                       (iv)    In addition to the establishment and maintenance of the Prepetition

 Indemnity Account, until the Challenge Deadline (as defined herein) the Prepetition ABL Agents

 (for themselves and on behalf of the other Prepetition ABL Lenders), shall retain and maintain

 the Prepetition ABL Liens and the ABL Adequate Protection Liens as security for any

 Prepetition Indemnity Obligations not capable of being satisfied from application of the funds on

 deposit in the Prepetition Indemnity Account. After the Challenge Deadline has passed, if no

 Challenge has been brought against the Prepetition ABL Credit Parties and all Prepetition

 Indemnity Obligations have been paid in full, in cash, all funds in the Prepetition Indemnity

 Account shall be promptly released to the Debtors.




                                               -23-
Case 19-40883          Doc 138    Filed 02/20/19 Entered 02/20/19 17:04:33            Main Document
                                               Pg 24 of 70


        5.       Adequate Protection Superpriority Claims.

                 (a)       Superpriority Claims of Prepetition Credit Parties. As further adequate

 protection of the interests of the Prepetition Credit Parties, upon entry of this Interim Order and

 effective as of the Petition Date, the Prepetition Credit Parties are hereby granted allowed

 administrative claims against the Debtors’ estates under section 503(b) of the Bankruptcy Code

 with superpriority pursuant to section 507(b) of the Bankruptcy Code (the “ABL Adequate

 Protection Superpriority Claim” and the “Prepetition Term Loan Adequate Protection

 Superpriority         Claims,”   respectively,   and,    collectively,   the   “Adequate   Protection

 Superpriority Claims”) to the extent of any Diminution in Value of such Prepetition Credit

 Parties’ respective interests in the Prepetition Collateral.

                 (b)       Priority of Adequate Protection Superpriority Claims.

                 (i)       Except as set forth herein, the Adequate Protection Superpriority Claims

 shall have priority over all administrative expense claims and unsecured claims against the

 Debtors or their estates, now existing or hereafter arising, of any kind or nature whatsoever,

 including, without limitation, administrative expenses of the kinds specified in or ordered

 pursuant to Sections 105, 326, 328, 330, 331, 503(a), 503(b), 507(a), 506(c) (subject to entry of

 the Final Order), 507(b), 546(c), 546(d), 726, 1113 and 1114 of the Bankruptcy Code. The

 Adequate Protection Superpriority Claims shall be junior only to the Carve Out.

 Notwithstanding anything to the contrary in the Existing Intercreditor Agreement, the ABL

 Adequate Protection Superpriority Claims shall be senior in priority to the Prepetition Term

 Loan Adequate Protection Superpriority Claims. Any superpriority claims granted pursuant to

 the Permitted DIP Financing shall be (i) pari passu with the ABL Adequate Protection




                                                   -24-
Case 19-40883          Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33           Main Document
                                              Pg 25 of 70


 Superpriority Claims and (ii) senior to the Prepetition Term Loan Adequate Protection

 Superpriority Claims.

                (ii)      Except as provided herein, the Adequate Protection Superpriority Claims

 shall not be made subject to or pari passu with any claim heretofore or hereinafter granted in the

 Cases or in any Successor Case, and shall be valid and enforceable against any trustee appointed

 in any of the Cases or any Successor Case, or upon the dismissal of any of the Cases or any

 Successor Cases. The Adequate Protection Superpriority Claims shall, for purposes of section

 1129(a)(9)(A) of the Bankruptcy Code, be considered administrative expenses allowed under

 section 503(b) of the Bankruptcy Code, shall be against each Debtor on a joint and several basis,

 and shall be payable from and have recourse to all Post-Petition Collateral (including, upon entry

 of the Final Order, the proceeds of avoidance actions under chapter 5 of the Bankruptcy Code).

        6.      Budget Maintenance.       The Debtors and the Prepetition Agents are hereby

 authorized to modify, amend or update the Budget from time to time in their sole discretion

 without further notice or order of the Court; provided, however, that, prior to the payment in full,

 in cash, of the ABL Obligations, only the consent of the Prepetition ABL Agents shall be

 required to approve any modification, amendments, or update of the Budget which pertains to the

 Store Closing Sales, including the line item “Liquidator Expenses”; provided, further, that the

 Prepetition ABL Agents shall consult with the Prepetition Term Loan Agent and AlixPartners,

 LLP prior to consenting to such modifications, amendments, or update provided that the Debtors,

 shall notify counsel for any Statutory Committee, the U.S. Trustee and FTI Consulting Canada

 Inc. in its capacity as Monitor of the Payless Canada Entities in the Canadian Case, of any such

 modifications, amendments or update.

        7.      Cash Management; Application of Proceeds of Collateral.




                                                -25-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33          Main Document
                                             Pg 26 of 70


                (a)      The Debtors shall maintain their cash management system as in effect as

 of the Petition Date. The “DIP Deposit Account” (as defined herein) shall not be subject to the

 Debtors’ cash management system and such deposit account thereof shall not constitute

 Prepetition Collateral or Post-Petition Collateral. All proceeds from any disposition, sale or

 casualty of any Prepetition ABL Priority Collateral or Post-Petition Collateral (including any

 Store Closing Sale) or any Prepetition Term Priority Collateral sold in connection with any Store

 Closing Sale shall continue to be deposited into deposit accounts subject to the Debtors’ existing

 cash management system and transferred to the Concentration Account. Notwithstanding the

 foregoing, prior to indefeasible payment in full, in cash, of the ABL Obligations, on Tuesday of

 each week (or on a different day of any week mutually agreeable to the Prepetition ABL

 Administrative Agent and the Debtors), the Debtors shall deliver to the Prepetition ABL

 Administrative Agent a report, in a form agreed to by the Debtors and Prepetition Agents,

 showing the Debtors’ proposed payments for the following week, which payments shall not

 exceed the sum of (i) 110% in the aggregate of the amounts set forth in the then current Budget

 for the following week; (ii) proposed “Critical Vendor Payments” (as defined in the Budget);

 provided that the aggregate weekly “Critical Vendor Payments” together with the proposed

 “Critical Vendor Payments” shall not exceed the total aggregate amount of all “Critical Vendor

 Payments” set forth in the Budget, and provided further that no “Critical Vendor Payments”

 shall be used to purchase inventory; (iii) all amounts due to the Liquidation Consultant pursuant

 to the Liquidation Consulting Agreement (as defined herein) for the week then ended; and (iv) an

 amount equal to 6.50% of the aggregate inventory sales at the Debtors’ U.S. brick and mortar

 and ecommerce locations for the week then ended (such report, the “Expense Report”).

 Additionally the Expense Report delivered on February 19, 2019 “Week One Expenses




                                               -26-
Case 19-40883     Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33          Main Document
                                           Pg 27 of 70


 Report”) shall include an estimated amount of all sales taxes incurred but not paid prior to the

 Petition Date with respect to inventory sales at the Debtors’ U.S. brick and mortar and

 ecommerce locations. To the extent that on February 19, 2019 there are insufficient funds on

 deposit in the Concentration Account and Operating Account to satisfy the funding request set

 forth in the Week One Expenses Report, the Prepetition ABL Administrative Agent may transfer

 to the Operating Account additional funds received in the Concentration Account during the first

 week of the Cases in order to satisfy such funding request. Notwithstanding any line item in the

 Budget, the Debtors are not authorized to and shall not use any Cash Collateral to purchase any

 inventory or pay any cost or expenses in connection with the purchase, importation or handling

 of such inventory (“Inventory Related Expenses”), and such cost and expenses shall not be

 included in the Expense Report. All such Inventory Related Expenses shall be paid solely with

 the proceeds of Permitted DIP Financing (as defined herein.) The Debtors shall not incur any

 Inventory Related Expenses until such time as the Debtors have caused to be deposited into the

 Operating Account (as defined herein) from amounts on deposit in the DIP Deposit Account

 amounts at least equal to the projected Inventory Related Expenses. The Prepetition ABL

 Administrative Agent is hereby authorized and directed, until the occurrence of a Termination

 Event, (i) to transfer from the Concentration Account to the Debtors’ operating account at the

 Prepetition ABL Administrative Agent ending in -5863 (the “Operating Account”) an amount

 equal to the sum of (A) the amount set forth in the Expense Report or otherwise approved by the

 Prepetition ABL Agents in their sole discretion (“Weekly Budget Payments”), plus (B) an

 amount necessary to maintain up to $2,500,000 after giving effect to any checks issued in

 accordance with the Budget for prior weeks which have yet to clear plus any accrued but unpaid

 amounts permitted under and included in prior weeks’ Expense Reports as determined by the




                                              -27-
Case 19-40883         Doc 138      Filed 02/20/19 Entered 02/20/19 17:04:33         Main Document
                                                Pg 28 of 70


 reports delivered pursuant to paragraph 12(b) herein (“Weekly Transfers”) and (ii) to transfer

 on a weekly basis all amounts remaining, if any, in the Concentration Account in excess of the

 sum of the applicable Weekly Budget Payments and Weekly Transfers (the “U.S. Excess

 Proceeds”) to the Prepetition ABL Administrative Agent to be applied in accordance with the

 terms of the Prepetition ABL Credit Documents until the ABL Obligations have been

 indefeasibly paid in full in cash. For the for the avoidance of doubt, once funds are transferred in

 to the Operating Account, such funds and all other amounts therein shall not be subject to the

 cash sweep referred to in the immediately preceding sentence. The Expense Report shall also

 include the Debtors’ proposed payments for the following week in the amounts set forth in the

 then current Canadian Budget, subject to the variances set forth in this paragraph 7(a). On

 Tuesday of each week (or on a different day of the week mutually agreeable to the Prepetition

 ABL Administrative Agent and the Debtors), the Prepetition ABL Administrative Agent is

 hereby authorized and directed, until the occurrence of a Termination Event, to transfer from any

 accounts maintained in the Debtors’ existing cash management system in Canada, the “Canadian

 Excess Proceeds” as such term is defined in the Interim Canadian Order to be applied in

 accordance with the terms of the Prepetition ABL Credit Documents until the ABL Obligations

 have been paid in full in cash.

                (b)      Upon expiration of the Remedies Notice Period, all amounts in the

 Concentration Account shall be applied by the Prepetition ABL Administrative Agent in

 accordance with the terms of the Prepetition ABL Credit Documents.

                (c)      The Prepetition ABL Administrative Agent may, at any time, send notice

 to the Debtors’ depository banks to authorize and direct such banks to direct all available funds

 to any Blocked Account or the Concentration Account at such times as the Prepetition ABL




                                                -28-
Case 19-40883       Doc 138      Filed 02/20/19 Entered 02/20/19 17:04:33                Main Document
                                              Pg 29 of 70


 Administrative Agent may direct in writing to such banks. Each of the Debtors’ depository

 banks is hereby authorized and directed to comply with any and all orders, notices, requests and

 other instructions originated by the Prepetition ABL Administrative Agent directing disposition

 of funds in accordance with the Budget, the Prepetition ABL Credit Documents and this Interim

 Order. For the avoidance of doubt, the DIP Deposit Account shall not be subject to the

 provisions of this paragraph.

         8.      Modification of Automatic Stay. The automatic stay imposed under Bankruptcy

 Code Section 362(a) is hereby modified as necessary to effectuate all of the terms and provisions

 of this Interim Order, including, without limitation, to permit the Debtors to grant the Adequate

 Protection Liens and the Adequate Protection Superpriority Claims, make the Adequate

 Protection Payments, and apply proceeds in accordance with paragraph 7.

         9.      Automatic Perfection of Adequate Protection Liens. This Interim Order shall be

 sufficient and conclusive evidence of the validity, perfection, and priority of all liens granted

 herein, including the Adequate Protection Liens, without the necessity of filing or recording any

 financing statement, mortgage, notice, or other instrument or document that may otherwise be

 required under the law or regulation of any jurisdiction or the taking of any other action

 (including, for the avoidance of doubt, filing of Uniform Commercial Code financing statements,

 mortgages, assignments, notices of lien and similar documents, and entering into any deposit

 account control agreement, customs broker agreement or freight forwarding agreement) to

 validate or perfect (in accordance with applicable non-bankruptcy law) the Adequate Protection

 Liens, or to entitle the Prepetition Credit Parties to the priorities granted herein.

         10.     Permitted DIP Financing.        Until the payment in full, in cash, of the ABL

 Obligations, if the Debtors, any trustee, any examiner with enlarged powers, any responsible




                                                  -29-
Case 19-40883      Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                            Pg 30 of 70


 officer, or any other estate representative subsequently appointed in the Cases, any Successor

 Case or the Canadian Case shall seek to obtain credit or incur debt secured by any Prepetition

 Collateral or Post-Petition Collateral (“DIP Financing”), (a) such DIP Financing shall be on

 terms and conditions customary for financings of its type and reasonably acceptable to the

 Prepetition ABL Agents; (b) unless the Prepetition ABL Agents otherwise agree in their

 respective sole discretion, any security interest granted in connection therewith shall be junior in

 priority to the ABL Adequate Protection Liens and the Prepetition ABL Liens with respect to the

 Prepetition ABL Priority Collateral; and (c) unless the Prepetition Term Agent otherwise agrees,

 any security interest granted in connection therewith shall be junior in priority to the Term

 Adequate Protection Liens and the Prepetition Term Liens with respect to the Prepetition Term

 Priority Collateral (such financing a “Permitted DIP Financing”). Proceeds derived from any

 Permitted DIP Financing shall be deposited by the Debtors in a segregated deposit account (the

 “DIP Deposit Account”) and shall be used solely for the purpose of funding Inventory Related

 Expenses and other purposes permitted by such Permitted DIP Financing.

        11.     Compliance With Prepetition Documents and Prepetition Credit Facilities. As

 further adequate protection of the Prepetition Credit Parties’ respective security interests in the

 Cash Collateral, the Debtors shall comply with all of the terms and provisions of the applicable

 Prepetition Documents (as modified herein), including the maintenance of adequate insurance,

 the maintenance of the Debtors’ existing cash management system and the payment of taxes as

 required by the Prepetition Documents, and, subject to the prior consent of the Prepetition

 Agents in their respective sole discretion, the payment of all allowed claims that could result in a

 lien on the Prepetition Collateral or the Post-Petition Collateral having priority over the liens of

 the Prepetition Credit Parties. The requirements of this Interim Order shall be in addition to, and




                                                -30-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33            Main Document
                                             Pg 31 of 70


 not in substitution for, the terms and provisions of the Prepetition Documents; provided,

 however, in the event of any inconsistency between the Prepetition Documents and this Interim

 Order, the terms of this Interim Order shall control; and provided further, nothing contained

 herein shall require the Debtors to take certain actions under the Prepetition Documents that

 would be prohibited by the provisions of the Bankruptcy Code, unless permitted by this Interim

 Order.

          12.   Financial Information and Reporting Requests. As additional adequate protection

 of the Prepetition Credit Parties’ respective security interests in the Cash Collateral, the Debtors

 shall allow the Prepetition Agents and their representatives reasonable access during business

 hours to the premises, officers, employees, auditors, appraisers, financial advisors, and the books

 and records of the Debtors, upon reasonable advance written notice in order to conduct

 appraisals (including, without limitation, the performance of weekly desktop appraisals in form

 and substance acceptable to the Prepetition Agents), analyses, and audits of the Prepetition

 Collateral, the Post-Petition Collateral, and the Debtors’ financial affairs, and shall otherwise

 cooperate in providing any other financial information reasonably requested by the Prepetition

 Agents, all at the cost and expense of the Debtors (other than information that is subject to

 attorney-client or similar privilege or constitutes attorney work product). The Debtors shall

 furnish to the Prepetition Agents such financial and other information as the Prepetition Agents

 shall reasonably request. The Debtors as and when required shall furnish to the Prepetition

 Agents each of the following financial reports (collectively, the “Debtors’ Reporting

 Requirements”):

                (a)      On or before noon Central Time on each Wednesday, a report showing the

 Debtors’ cash receipts and disbursements for the immediately preceding weekly period, and




                                                -31-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33          Main Document
                                             Pg 32 of 70


 cumulatively for all preceding weeks after the Petition Date, covered by the Budget and

 Canadian Budget, as well as a report showing any and all variances (on a line item basis and

 whether a positive or negative variance) (the “Budget Variance Report”);

                (b)      On or before noon Central Time on each Wednesday, the Expense Report,

 a report listing any checks issued in accordance with the Budget and Canadian Budget for prior

 weeks which have yet to clear, a report listing any accrued but unpaid amounts permitted under

 and included in prior weeks’ Expense Reports; and a report setting forth all sales for the such

 week;

                (c)      On or before noon Central Time on each Wednesday, a rolling updated

 cash flow forecast through May 31, 2019;

                (d)      Any financial information and pleadings filed with the Court shall be

 served upon each of the Prepetition Agents and their respective counsel simultaneously with the

 filing of such information or pleading with the Court;

                (e)      On or before noon Central Time on each Wednesday, a report showing the

 most recent weekly reconciliation completed in accordance with the Liquidation Consulting

 Agreement;

                (f)      On or before noon Central Time on each Wednesday, all other financial

 information and reports prepared by the Debtors in the ordinary course of their business and

 specifically requested by the Prepetition Agents, including any financial information required by

 the Court or by any applicable operating guidelines and/or reporting requirements of the U.S.

 Trustee; subject, however, to any applicable attorney-client and/or work-product privileges;

                (g)      Within one Business Day after receipt, any and all reports or notices

 received by the Debtors from the Liquidation Consultant in accordance with the Liquidation




                                                -32-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33          Main Document
                                             Pg 33 of 70


 Consulting Agreement, as well as a status report and such other updated information from the

 Liquidation Consultant as may be reasonably requested by the Prepetition Agents, in form and

 substance reasonably acceptable to the Prepetition Agents; and

                (h)      All other reports and financial information required to be provided to the

 Prepetition Agents by the Prepetition Documents or historically provided to the Prepetition

 Agents, including, without limitation, borrowing base certificates, at such times and in the form

 customarily provided, inventory mix reports, store count reports, and any additional reports as

 may be reasonably requested by the Prepetition Agents from time to time.

        13.     Retention of Consultants; Communication with Financial Advisors.

                (a)      The Prepetition Agents shall have received evidence by no later than two

 (2) Business Days following the Petition Date, that the Debtors have filed motions seeking to

 retain PJ Solomon, Ankura Consulting Group, LLC and Malfitano Partners (collectively, the

 “Financial Advisors”). Subject to Court approval, to be obtained by no later than thirty (30)

 days after the Petition Date, the Debtors shall continue to retain such Financial Advisors each of

 which shall continue to perform their duties and roles substantially as contemplated by such

 Financial Advisor’s engagement letter. The Debtors shall not terminate the engagement of such

 Financial Advisors without the consent of the Prepetition Agents, which consent shall not

 unreasonably be withheld, delayed or conditioned.     The Debtors shall continue to retain such

 Financial Advisors to assist the Debtors with the preparation of the Budget and the other

 financial and collateral reporting required to be delivered to the Prepetition Agents pursuant to

 the Prepetition Documents, the Liquidation Consulting Agreement, this Interim Order and any

 Final Order, and approval of all requests for use of Cash Collateral and disbursements by the

 Debtors.




                                                -33-
Case 19-40883        Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33          Main Document
                                            Pg 34 of 70


               (b)      The Debtors authorize the Prepetition Agents and their respective Lender

 Group Consultants (as defined herein) to communicate directly with and make information

 request of the Financial Advisors and authorize and shall instruct the Financial Advisors to

 communicate to the Prepetition Agents and their respective Lender Group Consultants and

 provided requested information relating to the Debtors with respect to their business, results of

 operations, prospects and financial condition. The Debtors acknowledge and agree that the

 Debtors and their representatives will reasonably cooperate with the Financial Advisors and any

 Lender Group Consultant. The Financial Advisors shall participate in weekly telephonic calls

 with the Prepetition Agents (and/or their advisors and counsel) to discuss various matters,

 including, without limitation, the Budget, budget variance, Store Closing Sales and bankruptcy

 milestones upon the reasonable request of any Prepetition Agents.

               (c)      The Debtors acknowledge that the Prepetition Agents shall be permitted to

 engage AlixPartners, LLP, Houlihan Lokey and Mackinac Partners (each, a “Lender Group

 Consultant”), for the sole benefit of the applicable Prepetition Agent, as the applicable

 Prepetition Agent may determine to be necessary or appropriate, in its sole discretion. The

 Debtors covenant and agree that (i) the Debtors shall cooperate with any Lender Group

 Consultant (including, without limitation, providing access to the Debtors’ books and records),

 (ii) all reasonable and documented out-of-pocket costs and expenses of any such Lender Group

 Consultant shall be deemed expenses payable pursuant to paragraphs 4(a) and 23 and required to

 be paid by the Debtors under the Prepetition Documents, this Interim Order and any Final Order;

 and (iii) all reports, determinations and other written and verbal information provided by any

 Lender Group Consultant shall be confidential and the Debtors shall not be entitled to have

 access to same.




                                               -34-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                             Pg 35 of 70


        14.     Disposition of Collateral; Rights of Prepetition Credit Parties. Unless otherwise

 authorized by the Court, and, where applicable, the Canadian Court, the Debtors shall not sell,

 transfer, lease, encumber, or otherwise dispose of any portion of the Prepetition Collateral or the

 Post-Petition Collateral other than sales of inventory and collection of accounts receivables in

 accordance with the Liquidation Consulting Agreement (as defined herein). Nothing provided

 herein shall limit the rights of the Prepetition Credit Parties to object to any proposed disposition

 of the Prepetition Collateral or the Post-Petition Collateral.

        15.     Termination Date. On the Termination Date, all authority to use Cash Collateral

 shall cease and, subject to the Existing Intercreditor Agreement, the Prepetition Credit Parties

 may exercise any rights and remedies provided to the Prepetition Credit Parties under the

 Prepetition Documents or at law or equity, including all remedies provided under the Bankruptcy

 Code and pursuant to this Interim Order and the Final Order; provided, however, that during the

 Remedies Notice Period (as defined herein), the Debtors may use Cash Collateral solely as set

 forth in paragraph 3 herein.

        16.     Termination Event. Upon written notice from the applicable Prepetition Agent,

 the occurrence of any of the following (unless waived by the applicable Prepetition Agent) shall

 constitute a “Termination Event” under this Interim Order:

        (i) Upon written notice by the Prepetition ABL Agents (or after the ABL Obligations

 have been paid in full in cash, the Prepetition Term Loan Agent) the following shall constitute a

 Termination Event (unless waived by the Prepetition ABL Agents, or after the ABL Obligations

 have been paid in full in cash, in which case unless waived by the Prepetition Term Loan Agent):

                (a)      the Debtors shall, without the Prepetition Agents’ prior written consent,

 file a motion with the Court or the Canadian Court seeking the authority to liquidate any of the




                                                  -35-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33           Main Document
                                             Pg 36 of 70


 Debtors’ assets or capital stock except for the closure of the North American stores through Store

 Closing Sales as described in the Liquidation Consulting Agreement (as defined herein);

                (b)      other than in connection with the payment in full in cash of the ABL

 Obligations, the bringing of a motion, taking of any action or the filing of any plan of

 reorganization or liquidation or disclosure statement attendant thereto by or on behalf of the

 Debtors in the Cases or the Canadian Case: (A) to obtain financing other than any Permitted DIP

 Financing as set forth in paragraph 10 herein; (B) except as provided in the Initial Canadian

 Order (as defined herein) to grant any lien other than (i) Prepetition Permitted Priority Liens

 upon or affecting any Prepetition Collateral or Post-Petition Collateral or (ii) in connection with

 a Permitted DIP Financing; (C) except as provided in this Interim Order or in the Final Order, as

 the case may be, to use Cash Collateral under Section 363(c) of the Bankruptcy Code without the

 prior written consent of the Prepetition Agents; or (D) that seeks to prohibit the Prepetition ABL

 Credit Parties from credit bidding on any or all of the Debtors’ assets during the pendency of the

 Cases;

                (c)      other than in connection with the payment in full in cash of the ABL

 Obligations, the filing of any plan of reorganization or liquidation or disclosure statement

 attendant thereto, or any direct or indirect amendment to such plan or disclosure statement, by

 the Debtors or any other person to which the Prepetition ABL Credit Parties do not consent or

 otherwise agree to the treatment of their claims;

                (d)      the entry of an order in the Cases or the Canadian Case confirming a plan

 of reorganization or liquidation that (A) is not acceptable to the Prepetition ABL Agents in their

 sole discretion or (B) does not contain a provision for repayment in full in cash of all of the ABL

 Obligations on or before the effective date of such plan or plans;




                                                -36-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33            Main Document
                                             Pg 37 of 70


                (e)      the entry of an order amending, supplementing, staying, vacating, or

 otherwise modifying the Prepetition ABL Credit Documents or this Interim Order, the Final

 Order, the Debtors’ “first-day” cash management order or the initial order of the Canadian Court

 in the Canadian Case (the “Initial Canadian Order”) without the written consent of the

 Prepetition ABL Agents or the filing of a motion for reconsideration with respect to this Interim

 Order or the Final Order, or this Interim Order, the Final Order, such cash management order or

 the Initial Canadian Order shall otherwise not be in full force and effect;

                (f)      the allowance of any claim or claims under section 506(c) of the

 Bankruptcy Code or otherwise against the Prepetition ABL Credit Parties or any of the

 Prepetition Collateral or Post-Petition Collateral, in each case constituting ABL Priority

 Collateral;

                (g)      the entry of an order by the Court granting relief from or modifying the

 automatic stay of Section 362 of the Bankruptcy Code, or an order of the Canadian Court

 granting relief or modifying the stay of proceedings in the Initial Canadian Order, (x) to allow

 any creditor to execute upon or enforce a lien on any Prepetition Collateral or Post-Petition

 Collateral, in each case constituting ABL Priority Collateral, having a fair market value of

 $250,000, or (y) with respect to any lien of or the granting of any lien on any Prepetition

 Collateral or Post-Petition Collateral, in each case constituting ABL Priority Collateral, to any

 state or local environmental or regulatory agency or authority;

                (h)      the commencement of a suit or action against the Prepetition ABL Credit

 Parties by or on behalf of the Debtors or their estates (other than with respect to claims or causes

 of action described in paragraph 22 hereof);




                                                 -37-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33           Main Document
                                             Pg 38 of 70


                (i)      the entry of an order in the Cases avoiding or permitting recovery of any

 payments made on account of the ABL Obligations;

                (j)      any alleged right of reclamation or return (whether asserted under Section

 546(c) of the Bankruptcy Code or otherwise) shall be deemed or treated in the Cases, any

 Successor Case or the Canadian Case as a Prepetition Permitted Priority Lien with a fair market

 value in excess of $250,000

                (k)      the failure of the Canadian Debtors to pay the Canadian Excess Proceeds

 as and when due, or, without the prior written approval of the Prepetition ABL Agents and prior

 to the payment in full in cash of the ABL Obligations, or the failure to obtain, on or before the

 date that is seven (7) days after the Petition Date, an order from the Canadian Court approving

 the payment of Canadian Excess Cash Proceeds as set forth in paragraph 7(a);

                (l)      without limiting the requirements set forth in paragraph 16(i)(e), the

 failure of the Canadian Debtors to perform any of their obligations under this Interim Order or

 any order issued by the Canadian Court (including, without limitation, to comply with Canadian

 Budget or the occurrence of any material interruption or cessation of the Store Closing Sales that

 are being conducted in Canada pursuant to the Liquidation Consulting Agreement (as defined

 herein)), or the entry of an order converting the Canadian Case;

                (m)      the entry of an order in the Cases or the Canadian Case granting any other

 superpriority administrative claim or lien equal or superior to that granted to the Prepetition ABL

 Credit Parties without the prior written consent of the Prepetition ABL Agents other than with

 respect to (i) the Term Loan Priority Collateral in connection with the Permitted DIP Financing;

 or (ii) with respect to assets owned by any Payless Canada Entity an Administration Charge and

 the Directors’ Charge as defined in the Initial Canadian Order;




                                                -38-
Case 19-40883         Doc 138    Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                              Pg 39 of 70


                (n)      on or before the date that is forty-five (45) days after the Petition Date, the

 Debtors shall have failed to file a motion seeking an order (the “Lease Extension Order”) of the

 Court extending the time period of the Debtors to assume or reject leases to not less than two

 hundred and ten (210) days after the Petition Date;

                (o)      on or before the date that is seventy-five (75) days after the Petition Date,

 the Debtors shall have failed to obtain the entry of the Lease Extension Order;

                (p)      on the Petition Date, the Debtors shall have failed to file a motion seeking

 to assume the “Liquidation Consulting Agreement”;

                (q)      on or before the date that is (i) three (3) days after the Petition Date, the

 Debtors shall have failed to obtain an interim Order approving assumption of the Liquidation

 Consulting Agreement (the “Interim Liquidation Consulting Agreement Order”), which

 Order must be in form and substance acceptable to the Prepetition ABL Agents and (ii) thirty

 (30) days after the Petition Date, the Debtors shall have failed to obtain the entry of a final Order

 approving assumption of the Liquidation Consulting Agreement (the “Final Liquidation

 Consulting Agreement Order”), which Order must be in form and substance acceptable to the

 Prepetition ABL Agents; or

                (r)      any modification, stay, vacatur or amendment to the Interim Liquidation

 Consulting Agreement Order, Final Liquidation Consulting Agreement Order or the Liquidation

 Consulting Agreement or any material breach of the Liquidation Consulting Agreement, in each

 case, unless otherwise approved in writing by the Prepetition ABL Agents.

        (ii)    Upon written notice by the Prepetition Term Loan Agent the following shall

 constitute a Termination Event (unless waived by the Prepetition Term Loan Agent):




                                                  -39-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33            Main Document
                                             Pg 40 of 70


                (a)      the allowance of any claim or claims under section 506(c) of the

 Bankruptcy Code or otherwise against the Prepetition Term Loan Credit Parties or any of the

 Prepetition Collateral or Post-Petition Collateral, in each case constituting Term Loan Priority

 Collateral;

                (b)      the entry of an order by the Court granting relief from or modifying the

 automatic stay of Section 362 of the Bankruptcy Code, or an order of the Canadian Court

 granting relief or modifying the stay of proceedings in the Initial Canadian Order, (x) to allow

 any creditor to execute upon or enforce a lien on any Prepetition Collateral or Post-Petition

 Collateral, in each case constituting Term Loan Priority Collateral, having a fair market value of

 $250,000, or (y) with respect to any lien of or the granting of any lien on any Prepetition

 Collateral or Post-Petition Collateral, in each case constituting Term Loan Priority Collateral, to

 any state or local environmental or regulatory agency or authority;

                (c)      the commencement of a suit or action against the Prepetition Term Loan

 Credit Parties by or on behalf of the Debtors or their estates (other than with respect to claims or

 causes of action described in paragraph 22 hereof);

                (d)      the entry of an order in the Cases or the Canadian Case granting any other

 superpriority administrative claim or lien equal or superior to that granted to the Prepetition

 Term Loan Credit Parties without the prior written consent of the Prepetition Term Loan Agent,

 other than with respect to (i) the Term Loan Priority Collateral in connection with the Permitted

 DIP Financing; or (ii) assets owned by any Payless Canada Entity an Administration Charge and

 the Directors’ Charge as defined in the Initial Canadian Order; and

                (e)      the entry of an order in the Cases avoiding or permitting recovery of any

 payments made on account of the Prepetition Term Loan Obligations;




                                                -40-
Case 19-40883         Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33           Main Document
                                               Pg 41 of 70


        (iii)   Upon the written notice by any of the Prepetition Agents, the following shall

 constitute a Termination Event (unless waived by the Prepetition Agent that provided such

 notice):

                (a)      the Final Order is not entered prior to the expiration of this Interim Order,

 and in any event within forty-five (45) days after the Petition Date;

                (b)      except as set forth in the “first day” orders, the payment of, or application

 for authority to pay, any prepetition indebtedness or prepetition claim without the Prepetition

 Agents’ prior written consent;

                (c)      (1) the appointment of an interim or permanent chapter 11 trustee in the

 Cases, the appointment of a receiver or an examiner in the Cases with expanded powers to

 operate or manage the financial affairs, the business, or reorganization of the Debtors, or the

 appointment of a receiver, receiver and manager or trustee of the Payless Canada Entities; or (2)

 the sale without the Prepetition Agents’ consent of any of the Debtors’ assets outside of the

 ordinary course of business or the Store Closing Sales, either through a sale under Section 363 of

 the Bankruptcy Code or otherwise, including through a confirmed plan of reorganization in the

 Cases or the Canadian Case, (other than, with respect to the consent of the Prepetition ABL

 Credit Parties, to the extent such sale provides for the payment in full in cash of the ABL

 Obligations immediately upon the closing of such sale);

                (d)      the dismissal of the Cases or the Canadian Case, or the conversion of the

 Cases from chapter 11 to chapter 7 of the Bankruptcy Code, or the Debtors shall file a motion or

 other pleading seeking the dismissal of the Cases under section 1112 of the Bankruptcy Code or

 otherwise, or the termination of the stay of proceedings in the Canadian Case; and




                                                 -41-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                             Pg 42 of 70


                (e)      the failure of the Debtors to perform any of their obligations under this

 Interim Order (including, without limitation, the failure to comply with (i) the Budget or the

 Budget Covenants as set forth in, and in accordance with, paragraph 3 hereof, (ii) the Debtors’

 Reporting Requirements, including, without limitation delivery of borrowing base certificates

 (unless waived by the Prepetition ABL Agents) or (iii) their obligation to remit the Adequate

 Protection Payments when due), the Final Order or the “first-day” cash management order, or

 any of their material finanacial obligations under any other order of the Court;

 provided that notwithstanding, the issuance of a Termination Notice by the Prepetition Term

 Loan Agent, nothing herein shall limit or otherwise modify the rights of the Prepetition ABL

 Agents to consent to use of Cash Collateral as to which the Prepetition Term Loan Credit Parties

 may not object as provided in the Existing Intercreditor Agreement.

        17.     Rights and Remedies Following Termination Event.

                (a)      Termination. Immediately      upon   the   occurrence      and   during   the

 continuance of a Termination Event, but subject to the immediately succeeding sentence, prior to

 the payment in full, in cash, of the ABL Obligations, the Prepetition ABL Agents may exercise

 their intent to terminate and, following the payment in full, in cash, of the ABL Obligations, the

 Prepetition Term Loan Agent may exercise their intent to terminate, the Debtors’ authority to use

 Cash Collateral by providing written notice as set forth in paragraph 17(b) (such notice, a

 “Termination Notice”). Five (5) Business Days after the issuance of a Termination Notice to

 the Debtors, the Debtors’ ability to use Cash Collateral shall be terminated, reduced or restricted

 on the terms set forth in the Termination Notice, and the application of the Carve Out shall occur

 through the delivery of the Carve Out Trigger Notice (as defined herein) to the Debtors. Without

 limiting the foregoing, the applicable Prepetition Agent(s) may, upon the occurrence of a




                                                -42-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                             Pg 43 of 70


 Termination Event and subject to the terms and conditions of paragraph 31 herein, (i) enter onto

 the premises of the Debtors in connection with an orderly liquidation of such collateral; and (ii)

 exercise any rights and remedies provided to the Prepetition Agents under the Prepetition

 Documents, or at law or equity, including all remedies provided under the Bankruptcy Code and

 pursuant to this Interim Order and any Final Order; provided, however, that upon the occurrence

 of a Canadian Termination Event and the delivery of a Termination Notice as set forth in this

 paragraph 17(a), any exercise by the Prepetition Agents of any rights and remedies under the

 Prepetition Documents, this Interim Order or any Final Order, shall be subject to a further order

 of, the Canadian Court authorizing and permitting the enforcement of such rights and remedies

 with respect to any Prepetition Collateral or Post-Petition Collateral located in Canada.

                (b)      Notice of Termination.      Any Termination Notice shall be given by

 electronic mail (or other electronic means) to counsel to the Debtors, counsel to the Prepetition

 Term Loan Agent (if delivered by the Prepetition ABL Agents), counsel to any Statutory

 Committee (if appointed) and the U.S. Trustee (the earliest date any such Termination Notice is

 sent shall be referred to herein as the “Termination Notice Date”). The automatic stay in the

 Cases otherwise applicable to the Prepetition Credit Parties is hereby modified so that five (5)

 Business Days after the Termination Notice Date (the “Remedies Notice Period”): the

 applicable Prepetition Agent(s) shall be entitled to exercise their rights and remedies to satisfy

 the relevant Prepetition Obligations, Adequate Prepetition Superpriority Claims and Adequate

 Protection Liens, subject to and consistent with (i) the Carve Out, (ii) this Interim Order, (iii) any

 Final Order and (iv) the Existing Intercreditor Agreement. Following the Termination Notice

 Date, the only basis on which the Debtors and/or any Statutory Committee (if appointed) shall be

 entitled to seek an emergency hearing within the Remedies Notice Period with the Court shall be




                                                 -43-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                             Pg 44 of 70


 to contest whether a Termination Event has occurred and/or is continuing or whether, after

 delivery of a Termination Notice by the Prepetition Term Loan Agent, the Debtors and the

 Prepetition ABL Agents may agree to the use of Cash Collateral upon terms and conditions as to

 which the Prepetition Term Loan Credit Parties may not object in accordance with the Existing

 Intercreditor Agreement, and the Prepetition Agents shall consent to such emergency hearing.

 Unless the Court orders otherwise, the automatic stay, as to all the Prepetition Credit Parties shall

 automatically be terminated at the end of the Remedies Notice Period without further notice or

 order. Upon expiration of the Remedies Notice Period, the applicable Prepetition Agent(s) shall

 be permitted to exercise all remedies set forth herein, in the Prepetition Documents, and as

 otherwise available at law without further order of or application or motion to the Court

 consistent with the Existing Intercreditor Agreement.

        18.     Carve Out.

                (a)      Carve Out. As used in this Interim Order, the “Carve Out” shall consist

 of the following fees and expenses: (i) all statutory fees required to be paid to the Clerk of the

 Court and to the Office of the United States Trustee pursuant to 28 U.S.C. §1930(a) plus interest

 at the statutory rate; (ii) all reasonable fees and expenses up to $50,000 incurred by a trustee

 under section 726(b) of the Bankruptcy Code; (iii) all Consulting Fees and Consultant Controlled

 Expenses (each as defined in the Consulting Agreement), in each case, for which the Consultant

 has not been reimbursed; (iv) to the extent allowed at any time, whether by interim order,

 procedural order, or otherwise, all paid and unpaid fees and expenses (“Allowed Professional

 Fees”) of the Debtors’ and any Statutory Committee’s professionals (the “Case Professionals”),

 in each case retained under Sections 327, 328, 363 or 1103 of the Bankruptcy Code, as

 applicable, and the reimbursement of out-of-pocket expenses allowed by the Court and incurred




                                                 -44-
Case 19-40883      Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                            Pg 45 of 70


 by the members of any Statutory Committee in the performance of their duties (but excluding

 fees and expenses of third party professionals employed by such members) (the “Committee

 Expenses”), incurred at any time prior to the delivery of a Carve Out Trigger Notice (as defined

 below); provided, however, the Allowed Professional Fees for any Statutory Committee’s

 professionals and Committee Expenses shall be limited to the amount set forth in the Budget;

 and (v) Allowed Professional Fees of Case Professionals and Committee Expenses in an

 aggregate amount not to exceed $2,000,000 incurred after the delivery of a Carve Out Trigger

 Notice to the extent allowed at any time, whether by interim order, procedural order, or

 otherwise (the amounts set forth in this clause (v) being the “Post-Carve Out Trigger Notice

 Cap”); provided, however, that the obligations of the Prepetition ABL Credit Parties with

 respect to the Carve Out set forth in this paragraph 18(a) and in any Final Order shall be and

 hereby are limited in all respects to the aggregate amount required to be funded into the

 Professional Fee Escrow Account (as defined herein) as set forth below prior to the earlier of (i)

 the date of payment in full, in cash, of the ABL Obligations; and (ii) the date of the delivery of a

 Carve Out Trigger Notice (such amounts, the “ABL Carve Out Amount”). No portion of the

 Carve Out or any Cash Collateral may be used in violation of this Interim Order, including

 paragraph 18 hereof. For purposes of the foregoing, “Carve Out Trigger Notice” shall mean a

 written notice delivered by email (or other electronic means) by either of the Prepetition ABL

 Administrative Agent or the Prepetition Term Loan Agent to the Debtors, the other Prepetition

 Agent(s), any Statutory Committee and the U.S. Trustee, which notice may be delivered

 following the occurrence and during the continuation of a Termination Event, stating that the

 Post-Carve Out Trigger Notice Cap has been invoked. On Friday of each week, in accordance

 with the Budget, so long as no Termination Event has occurred, unless otherwise agreed to by




                                                -45-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33          Main Document
                                             Pg 46 of 70


 the Prepetition ABL Agents, the Debtors shall cause to be transferred into an escrow account (the

 “Professional Fee Escrow Account”) with an escrow agent selected by the Debtors an amount

 equal to the budgeted fees and expenses of the Case Professionals set forth on the Professional

 Fee Schedule (x) for the current week and the subsequent week for the first week following the

 Petition Date and (y) for each week following the first week after the Petition Date, for the

 subsequent week, in each case as set forth in the then current Budget. The Prepetition ABL

 Lenders’ obligations to fund the ABL Carve Out Amount in accordance with this paragraph

 18(a) shall terminate upon the earlier of (x) payment in full, in cash, of the ABL Obligations and

 (b) delivery by the Prepetition ABL Agents of a Carve Out Trigger Notice.

                (b)      No Direct Obligation to Pay Case Professional Fees or Committee

 Expenses. Except for funding the Professional Fee Escrow Account, none of the Prepetition

 Credit Parties shall be responsible for the direct payment or reimbursement of any fees or

 disbursements of any Case Professionals or any Committee Expenses incurred in connection

 with the Cases or any Successor Case. Nothing in this Interim Order or otherwise shall be

 construed to obligate any of the Prepetition Credit Parties in any way to pay compensation to or

 to reimburse expenses of any Case Professional (including any Committee Expenses), or to

 guarantee that the Debtors have sufficient funds to pay such compensation or reimbursement.

 Upon receipt of the Carve-Out Trigger Notice, the Debtors shall provide notice by email to all

 Case Professionals, at the email addresses set forth in each Case Professional’s notice of

 appearance filed with the Bankruptcy Court (or, if there is no such notice of appearance, at such

 Case Professional’s last known email address) informing them that such Carve-Out Trigger

 Notice has been received and further advising them that the Debtors’ ability to pay such Case

 Professionals is subject to and limited by the Carve-Out. Until such time as the ABL Obligations




                                               -46-
Case 19-40883       Doc 138    Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                            Pg 47 of 70


 have been paid in full in cash, Allowed Professional Fees of any Case Professional and

 Committee Expenses shall be paid solely from the Professional Fee Escrow Account and any

 retainer, as applicable.

        19.     Prohibited Use of Cash Collateral and Carve Out. The Prepetition Collateral, the

 Cash Collateral and the Carve Out may not be used in connection with: (a) preventing, hindering,

 or delaying any of the Prepetition Credit Parties’ enforcement or realization upon any of the

 Prepetition Collateral other than during the Remedies Notice Period and otherwise subject to the

 provisions of this Interim Order; (b) using or seeking to use Cash Collateral or selling or

 otherwise disposing of Prepetition Collateral or Post-Petition Collateral without the consent of

 the applicable Prepetition Agents and the applicable Required Lenders other than as set forth in

 this Interim Order; (c) using or seeking to use any insurance proceeds constituting Prepetition

 Collateral or Post-Petition Collateral without the consent of the applicable Prepetition Agents

 and the applicable Required Lenders; (d) incurring Indebtedness (as defined in the Prepetition

 ABL Credit Agreement or the Prepetition Term Loan Agreement) without the prior consent of

 the applicable Prepetition Agents and the applicable Required Lenders, except to the extent

 permitted under the applicable Prepetition Documents; other than a Permitted DIP Financing; (e)

 seeking to amend or modify any of the rights granted to the Prepetition Credit Parties under this

 Interim Order, any Final Order and the Prepetition Documents, or the Prepetition Documents,

 including seeking to use Cash Collateral and/or Prepetition Collateral or Post-Petition Collateral

 on a contested basis other than during the Remedies Notice Period; (f) objecting to or

 challenging in any way the Prepetition Liens, ABL Obligations, Prepetition Term Loan

 Obligations, Prepetition Collateral or Post-Petition Collateral (including Cash Collateral), or any

 other claims or liens, held by or on behalf of any of the Prepetition Credit Parties; (g) asserting,




                                                -47-
Case 19-40883      Doc 138      Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                             Pg 48 of 70


 commencing or prosecuting any claims or causes of action whatsoever, including, without

 limitation, any actions under Chapter 5 of the Bankruptcy Code or applicable state law

 equivalents or actions to recover or disgorge payments, against any of the Prepetition Credit

 Parties, or any of their respective affiliates, agents, attorneys, advisors, professionals, officers,

 directors and employees; (h) litigating, objecting to, challenging, or contesting in any manner, or

 raising any defenses to, the validity, extent, amount, perfection, priority, or enforceability of any

 of the ABL Obligations, the Prepetition Term Loan Obligations, the Prepetition Liens or any

 other rights or interests of any of the Prepetition Credit Parties; or (i) seeking to subordinate,

 recharacterize, disallow or avoid the ABL Obligations or the Prepetition Term Loan Obligations;

 provided, however, that the Carve Out and such collateral proceeds and loans under the

 Prepetition Documents may be used for allowed fees and expenses, in an amount not to exceed

 $75,000 in the aggregate, incurred solely by a Statutory Committee (if appointed), in

 investigating (but not prosecuting or challenging) the validity, enforceability, perfection, priority

 or extent of the Prepetition Liens and Prepetition Obligations.

        20.     The Debtors shall not, directly or indirectly, voluntarily purchase, redeem,

 defease, prepay any principal of, premium, if any, interest, or other amount payable in respect of

 any indebtedness of the Debtors prior to its scheduled maturity, other than the ABL Obligations

 and obligations authorized under the Debtors’ “first-day” orders. In addition, the Prepetition

 Collateral, the Post-Petition Collateral, the Cash Collateral, and the Carve Out may not be used:

 (a) in connection with or to finance in any way any action, suit, arbitration, proceeding,

 application, motion, or other litigation of any type (i) against the Prepetition Credit Parties

 (including any of their respective participants) or that could impair their rights and remedies

 under the Prepetition Documents or this Interim Order or the Final Order, including, without




                                                 -48-
Case 19-40883      Doc 138      Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                             Pg 49 of 70


 limitation, for the payment of any services rendered by the professionals retained by the Debtors

 or any Statutory Committee in connection with the assertion of or joinder in any claim,

 counterclaim, action, proceeding, application, motion, objection, defense or other contested

 matter, the purpose of which is to seek, or the result of which would be to obtain, any order,

 judgment determination, declaration, or similar relief, (ii) invalidating, setting aside, avoiding or

 subordinating, in whole or in part, the Prepetition Liens or the Prepetition Obligations or ABL

 Obligations, (iii) for monetary, injunctive, or other affirmative relief against the Prepetition

 Credit Parties (including any of their respective participants), or their collateral, or (iv)

 preventing, hindering, or otherwise delaying the exercise by the Prepetition Credit Parties of any

 rights and remedies under this Interim Order or the Final Order, the Prepetition Documents, or

 applicable law, or the enforcement or realization (whether by foreclosure, credit bid, further

 order of the Court or otherwise) by the Prepetition Credit Parties upon any of their collateral,; (b)

 to make any payment greater than $100,000 individually or $300,000 in the aggregate during the

 Cases in settlement of any claim, action, or proceeding, before any court, arbitrator, or other

 governmental body without the prior written consent of the Prepetition Agents unless otherwise

 ordered by this Court; (c) to pay any fees or similar amounts to any person who has proposed or

 may propose to purchase interests in the Debtors without the prior written consent of the

 Prepetition Agents, (d) in connection with or to finance in any way any action, suit, arbitration,

 proceeding, application, motion, or other litigation of any type objecting to, contesting, or

 interfering with, in any way, the Prepetition Credit Parties’ enforcement or realization upon any

 of the Prepetition Collateral or Post-Petition Collateral upon the occurrence of the Termination

 Date, except as provided for in this Interim Order or Final Order, or seeking to prevent the

 Prepetition Credit Parties from credit bidding in connection with any proposed plan of




                                                 -49-
Case 19-40883       Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                             Pg 50 of 70


 reorganization or liquidation or any proposed transaction pursuant to section 363 of the

 Bankruptcy Code; (e) in connection with using or seeking to use Cash Collateral, without the

 consent of the Prepetition Agents, in a manner inconsistent with the Budget in accordance with

 paragraph 3 herein; (f) in connection with using or seeking to use any insurance proceeds

 constituting Prepetition Collateral or Post-Petition Collateral without the consent of the

 Prepetition Agents; (g) in connection with incurring Indebtedness outside the ordinary course of

 business without the prior consent of the Prepetition Agents, except in connection with a

 Permitted DIP Financing; (h) in connection with or to finance in any way any action, suit,

 arbitration, proceeding, application, motion, or other litigation of any type objecting to or

 challenging in any way the claims, liens, or interests held by or on behalf of the Prepetition

 Credit Parties (including any of their respective participants); (i) in connection with or to finance

 in any way any action, suit, arbitration, proceeding, application, motion, or other litigation of any

 type asserting, commencing, or prosecuting any claims or causes of action whatsoever,

 including, without limitation, any actions under chapter 5 of the Bankruptcy Code, against the

 Prepetition Credit Parties (including any of their respective participants and their agents,

 employees, attorneys, or consultants); or (j) in connection with prosecuting an objection to,

 contesting in any manner, or raising any defenses to, the validity, extent, amount, perfection,

 priority, or enforceability of any of the Prepetition Obligations or the Prepetition Liens or any

 other rights or interests of the Prepetition Credit Parties (including any of their respective

 participants).

         21.      Payment of Compensation. Nothing herein shall be construed as consent to the

 allowance of any professional fees or expenses of any Case Professionals or shall affect the right

 of the Prepetition Agents to object to the allowance and payment of such fees and expenses. So




                                                 -50-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33            Main Document
                                             Pg 51 of 70


 long as no Termination Event has occurred and is continuing, and until the payment in full, in

 cash, of the ABL Obligations, the Debtors shall be permitted to pay, solely from the Professional

 Fee Escrow Account, fees and expenses allowed and payable by order (that has not been vacated

 or stayed, unless the stay has been vacated) under Sections 328, 330 and 331 of the Bankruptcy

 Code, as the same may be due and payable, and to the extent set forth in the Budget.

        22.     Reservation of Certain Third Party Rights and Bar of Challenges and Claims.

                (a)      The admissions, stipulations, agreements, releases, and waivers set forth in

 this Interim Order (collectively, the “Prepetition Lien and Claim Matters”) are and shall be

 binding on the Debtors, any subsequent trustee, responsible person, examiner with expanded

 powers, any other estate representative, and all creditors and parties in interest and all of their

 successors in interest and assigns, including, without limitation, any Statutory Committee that

 may be appointed in these cases, unless, and solely to the extent that, a party in interest with

 standing and requisite authority (other than the Debtors, as to which any Challenge (as defined

 below) is irrevocably waived and relinquished) (i) has timely filed the appropriate pleadings, and

 timely commenced the appropriate proceeding required under the Bankruptcy Code and

 Bankruptcy Rules, including, without limitation, as required pursuant to Part VII of the

 Bankruptcy Rules (in each case subject to the limitations set forth in paragraph of this Interim

 Order) challenging the Prepetition Lien and Claim Matters (each such proceeding or appropriate

 pleading commencing a proceeding or other contested matter, a “Challenge”) by no later than

 the earliest of: (a) 60 calendar days from the date of entry of the appointment of a Statutory

 Committee and (b) 75 calendar days from the Petition Date (the “Challenge Deadline”), as such

 applicable date may be extended in writing from time to time in the sole discretion of the

 Prepetition ABL Agents (with respect to the Prepetition ABL Credit Documents) and the




                                                 -51-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33           Main Document
                                             Pg 52 of 70


 Prepetition Term Loan Agent (with respect to the Prepetition Term Loan Credit Documents), or

 by this Court for good cause shown pursuant to an application filed by a party in interest prior to

 the expiration of the Challenge Deadline, and (ii) this Court enters judgment in favor of the

 plaintiff or movant in any such timely and properly commenced Challenge proceeding and any

 such judgment has become a final judgment that is not subject to any further review or appeal.

                (b)      Binding Effect.   To the extent no Challenge is timely and properly

 commenced by the Challenge Deadline, then, without further notice, motion, or application to,

 order of, or hearing before, this Court and without the need or requirement to file any proof of

 claim, the Prepetition Lien and Claim Matters shall, pursuant to this Interim Order and any Final

 Order, become binding, conclusive, and final on any person, entity, or party in interest in the

 Cases, and their successors and assigns, and in any Successor Case for all purposes and shall not

 be subject to challenge or objection by any party in interest, including, without limitation, a

 trustee, responsible individual, examiner with expanded powers, or other representative of the

 Debtors’ estates. Notwithstanding anything to the contrary herein, if any such proceeding is

 properly and timely commenced, the Prepetition Lien and Claim Matters shall nonetheless

 remain binding on all other parties in interest and preclusive as provided in subparagraph (a)

 above except to the extent that any of such Prepetition Lien and Claim Matters is expressly the

 subject of a timely and properly filed Challenge, which Challenge is successful as set forth in a

 final judgment.       To the extent any such Challenge proceeding is timely and properly

 commenced, the applicable Prepetition Credit Parties shall be entitled to payment of the related

 costs and expenses, including, but not limited to, reasonable attorneys’ fees, incurred under the

 Prepetition Documents in defending themselves in any such proceeding as adequate protection.

 For the avoidance of doubt, nothing in this Interim Order vests or confers on any Statutory




                                                -52-
Case 19-40883         Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33           Main Document
                                             Pg 53 of 70


 Committee or any person (as defined in the Bankruptcy Code) standing or authority to pursue

 any cause of action belonging to the Debtors or their estates, and all rights to object to such

 standing are expressly reserved.

                (c)      Notwithstanding anything herein to the contrary, nothing in this Interim

 Order will release, discharge or impair in any manner any claims or causes of action by the

 Debtors or by any Prepetition Credit Parties against (a) any entity whose employees, principals,

 officers or directors partners, members or equityholders currently serve or formerly served as

 board members for any of the Debtors, (a “Board Participant Party”), (b) any affiliates, agents

 or representatives of any Board Participant Party, or (c) any of the Debtors’ professionals or

 current or former board members in connection with any claims or causes of action against any

 Board Participant Party or its affiliates, agents or representatives (the parties in foregoing sub-

 clauses (a) – (c) are referred to, collectively, as the “Non-Released Parties”); provided,

 however, that in the event the Debtors or the Prepetition Credit Parties do not commence claims

 or causes of action against the Non-Released Parties within 270 days of the date of entry of this

 Interim Order (the “Claim Deadline”) that, but for this Paragraph 22(c), would otherwise be

 released, discharged, or impaired at the expiration of the Challenge Deadline pursuant to

 Paragraph 22(b) hereof if no Challenge were timely and properly commenced, such claims or

 causes of action shall be released at the expiration of the Claim Deadline and such release shall

 become binding, conclusive, and final on the Debtors, the Prepetition Credit Parties, and any

 person, entity, or party in interest in the Cases, and their successors and assigns, and in any

 Successor Case for all purposes, including, without limitation, a trustee, responsible individual,

 examiner with expanded powers, or other representative of the Debtors’ estates.




                                                -53-
Case 19-40883      Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33           Main Document
                                            Pg 54 of 70


        23.     Costs, Fees and Expenses. As additional adequate protection of the Prepetition

 Credit Parties’ security interests in the Prepetition Collateral, the Debtors are authorized and

 directed to pay all reasonable and documented out-of-pocket costs, fees and expenses of the

 Prepetition ABL Agents, Prepetition Term Loan Agent and certain Prepetition Term Lender(s)

 including, without limitation, legal, accounting, collateral examination, monitoring and appraisal

 fees, financial advisory fees, fees and expenses, of other consultants, and indemnification and

 reimbursement of fees and expenses and any such other amounts as and to the extent provided in

 the Prepetition Documents (including without limitation the reasonable and documented fees and

 expenses of Choate, Hall & Stewart, LLP, Greenberg Traurig LLP, Thompson Coburn LLP,

 Norton Rose Fulbright Canada LLP and Mackinac Partners, (the “ABL Professional Fees”),

 Norton Rose Fulbright US LLP and McCarthy Tetrault LLP (the “Term Agent Professional

 Fees”) and Kramer Levin Naftalis & Frankel LLP, Fasken Martineau DuMoulin LLP, Stroock &

 Stroock & Lavan LLP, AlixPartners, LLP, and Houlihan Lokey (the “Prepetition Term Lender

 Professional Fees”). Except as set forth below with respect to the Term Agent Professional Fees

 and Prepetition Term Lender Professional Fees payment of all such fees and expenses shall not

 be subject to the Budget or to allowance by the Court. Professionals for the Prepetition Credit

 Parties shall not be required to comply with the U.S. Trustee fee guidelines. Notwithstanding the

 foregoing, the professionals for the Prepetition Credit Parties shall deliver a summary of their

 respective invoices to counsel for the Debtors, any Statutory Committee and the U.S. Trustee

 (the “Fee Notice Parties”), redacted as necessary with respect to any privileged or confidential

 information contained therein. If no objection is raised by any of the Fee Notice Parties with

 respect to such summaries within ten (10) days of the receipt thereof (the “Professional Fee

 Objection Period”) then, without further order of, or application to, the Court or notice to any




                                               -54-
Case 19-40883       Doc 138      Filed 02/20/19 Entered 02/20/19 17:04:33            Main Document
                                              Pg 55 of 70


 other party, such fees and expenses shall be promptly paid by the Debtors. If an objection

 (solely as to reasonableness) is made by any of the Fee Notice Parties within the Professional Fee

 Objection Period to payment of the requested fees and expenses, then only the disputed portion

 of such fees and expenses shall not be paid until the objection is resolved by the applicable

 parties in good faith or by order of the Court, and the undisputed portion shall be promptly paid

 by the Debtors. Notwithstanding the foregoing, until payment in full, in cash, of the ABL

 Obligations, the Debtors are only authorized and directed to pay the Term Agent Professional

 Fees and Prepetition Term Lender Professional Fees and other cost and expenses incurred by the

 Prepetition Term Agent and Prepetition Term Loan Lenders strictly in accordance with and

 subject to the Budget; for the avoidance of doubt no success, transaction or similar fees shall be

 paid to any professional retained or engaged by the Prepetition Term Loan Lenders.

         24.     No Third Party Rights. Except as explicitly provided for herein, this Interim

 Order does not create any rights for the benefit of any third party, creditor, equity holder, or any

 direct, indirect, or incidental beneficiary.

         25.     Section 506(c) Claims. Upon entry of the Final Order, no costs or expenses of

 administration which have been or may be incurred in the Cases at any time shall be charged

 against the Prepetition Credit Parties, the Prepetition Collateral, or the Post-Petition Collateral

 pursuant to Sections 105 or 506(c) of the Bankruptcy Code, or otherwise, without the prior

 written consent of the Prepetition Agents, and no such consent shall be implied from any other

 action, inaction, or acquiescence by any such agents or lenders.

         26.     No Marshaling/Applications of Proceeds. Upon entry of the Final Order, the

 Prepetition Credit Parties shall not be subject to the equitable doctrine of “marshaling” or any

 other similar doctrine with respect to any of the Prepetition Collateral or Post-Petition Collateral.




                                                 -55-
Case 19-40883      Doc 138      Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                             Pg 56 of 70


        27.     Section 552(b). Subject to the entry of the Final Order, the “equities of the case”

 exception under Bankruptcy Code §552(b) shall not apply to the Prepetition Credit Parties with

 respect to proceeds, products, offspring, or profits of any of the Prepetition Collateral.

        28.     Rights Preserved. Notwithstanding anything herein to the contrary, the entry of

 this Interim Order is without prejudice to, and does not constitute a waiver of, expressly or

 implicitly: (a) the Prepetition Credit Parties’ right to seek any other or supplemental relief in

 respect of the Debtors; (b) any of the rights of the Prepetition Credit Parties under the

 Bankruptcy Code or under non-bankruptcy law, including, without limitation, the right to (i)

 request modification of the automatic stay of Section 362 of the Bankruptcy Code, (ii) request

 dismissal of the Cases, any Successor Case or the Canadian Case, conversion of the Cases to

 cases under chapter 7, or appointment of a chapter 11 trustee or examiner with expanded powers

 or appointment of a receiver, receiver and manager or trustee of the Payless Canada Entities or

 any of them, or (iii) propose, subject to the provisions of Section 1121 of the Bankruptcy Code, a

 chapter 11 plan or plans. Other than as expressly set forth in this Interim Order, any other rights,

 claims or privileges (whether legal, equitable or otherwise) of the Prepetition Credit Parties are

 preserved.

        29.     No Waiver by Failure to Seek Relief. The failure of the Prepetition Credit Parties

 to seek relief or otherwise exercise their rights and remedies under this Interim Order, the

 Prepetition Documents, or applicable law, as the case may be, shall not constitute a waiver of

 any of the rights hereunder, thereunder, or otherwise of the Prepetition Credit Parties.

        30.     Binding Effect of Interim Order.          Immediately upon entry by this Court

 (notwithstanding any applicable law or rule to the contrary), the terms and provisions of this

 Interim Order shall become valid and binding upon and inure to the benefit of the Debtors, the




                                                 -56-
Case 19-40883      Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                            Pg 57 of 70


 Prepetition Credit Parties, all other creditors of the Debtors, any Statutory Committee or any

 other court appointed committee appointed in the Cases, and all other parties in interest and their

 respective successors and assigns, including any trustee or other fiduciary hereafter appointed in

 the Cases, any Successor Case, or upon dismissal of the Cases or any Successor Case.

        31.     No Modification of Interim Order. The Debtors irrevocably waive the right to

 seek and shall not seek or consent to, directly or indirectly: (a) without the prior written consent

 of the Prepetition Agents (i) any modification, stay, vacatur or amendment to this Interim Order;

 or (ii) a priority claim for any administrative expense or unsecured claim against the Debtors

 (now existing or hereafter arising of any kind or nature whatsoever, including, without limitation

 any administrative expense of the kind specified in Sections 503(b), 507(a) or 507(b) of the

 Bankruptcy Code) in the Cases or any Successor Case, equal or superior to the Adequate

 Protection Superpriority Claims, other than the Carve Out; (b) without the prior written consent

 of the Prepetition Agents, any order allowing use of Cash Collateral other than this Interim Order

 and the Final Order; and (c) without the prior written consent of the Prepetition Agents, any lien

 on any of the Post-Petition Collateral with priority equal or superior to the Adequate Protection

 Liens The Debtors irrevocably waive any right to seek any material amendment, modification, or

 extension of this Interim Order without the prior written consent, as provided in the foregoing, of

 the Prepetition Agents, and no such consent shall be implied by any other action, inaction or

 acquiescence of the Prepetition Agents.

        32.     Access to Prepetition Collateral and Post-Petition Collateral. Notwithstanding

 anything contained herein to the contrary and without limiting any other rights or remedies,

 subject to the Existing Intercreditor Agreement, of the Prepetition ABL Agents and the

 Prepetition Term Loan Agent, exercisable on behalf of the Prepetition ABL Lenders and




                                                -57-
Case 19-40883      Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                            Pg 58 of 70


 Prepetition Term Loan Lenders, respectively, contained in this Interim Order, the Prepetition

 ABL Credit Documents, the Prepetition Term Loan Credit Documents, or otherwise available at

 law or in equity, and subject to the terms of the Prepetition ABL Credit Documents and

 Prepetition Term Loan Credit Documents, upon written notice to the landlord of any leased

 premises that the Termination Date has occurred, the Prepetition ABL Agents or Prepetition

 Term Loan Agent, as applicable, may, subject to the applicable notice provisions, if any, in this

 Interim Order and any separate applicable agreement by and between such landlord and the

 Prepetition ABL Agents or Prepetition Term Loan Agent, enter upon any leased premises of the

 Debtors or any other party for the purpose of exercising any remedy with respect to Prepetition

 Collateral and Post-Petition Collateral located thereon and shall be entitled to all of the Debtors’

 rights and privileges as lessee under such lease without interference from the landlords

 thereunder; provided that the Prepetition ABL Agents and/or Prepetition Term Loan Agent, as

 applicable, shall be obligated only to pay rent of the Debtors that first accrues after the written

 notice referenced above and that is payable during the period of such occupancy by the

 Prepetition ABL Agents and/or Prepetition Term Loan Agent, as applicable, calculated on a

 daily per diem basis. Nothing herein shall require the Prepetition ABL Agents or Prepetition

 Term Loan Agent to assume any lease as a condition to the rights afforded in this paragraph. For

 the avoidance of doubt, subject to (and without waiver of) the rights of the Prepetition Credit

 Parties under applicable non-bankruptcy law, the Prepetition Credit Parties can only enter upon a

 leased premises after the Termination Date in accordance with (i) a separate agreement with the

 landlord at the applicable leased premises, or (ii) upon entry of an order of this Court obtained by

 motion of any of the Prepetition Credit Parties on such notice to the landlord as shall be required

 by this Court.




                                                -58-
Case 19-40883      Doc 138      Filed 02/20/19 Entered 02/20/19 17:04:33          Main Document
                                             Pg 59 of 70


        33.     Waiver of Requirement to File Proofs of Claim. The Prepetition Credit Parties

 shall not be required to file proofs of claim in the Cases or any successor case to maintain their

 respective claims for payment of the Prepetition Obligations or for payment and performance of

 the Adequate Protection Liens, the Adequate Protection Payments, or the Adequate Protection

 Superpriority Claims. The statements of claim in respect of the Prepetition Obligations, the

 Adequate Protection Liens, the Adequate Protection Payments, and the Adequate Protection

 Superpriority Claims set forth in this Interim Order are deemed sufficient to and do constitute

 proofs of claim in respect of such obligations and liens.

        34.     Credit Bidding. Subject to the terms of the Existing Intercreditor Agreement, the

 Prepetition Credit Parties shall have the right to credit bid up to the full amount of their

 Prepetition Obligations, as provided for in section 363(k) of the Bankruptcy Code without the

 need for further Court order authorizing the same and whether any such sale is effectuated

 through section 363(k) or 1129(b) of the Bankruptcy Code, by a chapter 7 trustee under section

 725 of the Bankruptcy Code, or otherwise.

        35.     Limits on Lender Liability. Subject to entry of a Final Order, nothing in this

 Interim Order or in any of the Prepetition Documents, or any other documents related thereto

 shall in any way be construed or interpreted to impose or allow the imposition upon the

 Prepetition Credit Parties of any liability for any claims arising from any activities by the

 Debtors in the operation of their businesses or in connection with the administration of these

 Cases. The Prepetition Credit Parties shall not be deemed in control of the operations of the

 Debtors or to be acting as a “responsible person” or “owner or operator” with respect to the

 operation or management of the Debtors (as such terms, or any similar terms, are used in the

 United States Comprehensive Environmental Response, Compensation and Liability Act, 29




                                                 -59-
Case 19-40883       Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33               Main Document
                                             Pg 60 of 70


 U.S.C. §§ 9601 et seq., as amended, or any similar federal or state statute). Nothing in this

 Interim Order shall in any way be construed or interpreted to impose or allow the imposition

 upon any of the Prepetition Credit Parties of any liability for any claims arising from the

 prepetition or post petition activities of any of the Debtors.

        36.     Insurance Proceeds and Policies. Upon entry of this Interim Order and to the

 fullest extent provided by applicable law, the Prepetition ABL Agents (on behalf of the

 Prepetition ABL Lenders) and the Prepetition Term Loan Agent (on behalf of the Prepetition

 Term Loan Lenders) shall be, and shall be deemed to be, without any further action or notice,

 named as additional insured and loss payee on each insurance policy maintained by the Debtors

 that in any way relates to the Prepetition Collateral and Post-Petition Collateral.

        37.     Continuing Effect of Intercreditor Agreement.         The Debtors and Prepetition

 Credit Parties each shall be bound by, and in all respects of the Prepetition Credit Facilities shall

 be governed by, and be subject to all the terms, provisions and restrictions of the Existing

 Intercreditor Agreement, except as expressly modified by this Interim Order.

        38.     Treatment of Proceeds From Sale of Texas Assets. As adequate protection for

 personal property tax claims asserted by any taxing authority in which a store that is the subject

 of the Store Closing Sales is located (the “Local Texas Tax Authorities”), from the proceeds of

 the sale of any of the Debtors’ assets located in the state of Texas, the amount of $100,000 shall

 be set aside by the Debtors in a segregated account (the “Local Texas Tax Account”) as

 adequate protection for the secured claims of the Local Texas Tax Authorities prior to the

 distribution of any proceeds to any other creditor. The liens of the Local Texas Tax Authorities

 shall attach to these proceeds in the Local Texas Tax Account to the same extent and with the

 same priority as the liens they now hold against the property of the Debtors. These funds in the




                                                  -60-
Case 19-40883       Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33              Main Document
                                             Pg 61 of 70


 Local Texas Tax Account shall be adequate protection and shall constitute neither the allowance

 of the claims of the Local Texas Tax Authorities, nor a cap or floor on the amounts they may be

 entitled to receive. All parties’ rights to object to the priority, validity, amount, and extent of the

 claims and liens asserted by the Local Texas Tax Authorities are fully preserved. Funds in the

 Local Texas Tax Account may be distributed upon agreement between the Local Texas Tax

 Authorities and the Debtors, with the consent of the Prepetition ABL Agents, or, upon payment

 in full, in cash, of the ABL Obligations, the Prepetition Term Loan Agent, or by subsequent

 order of the Court, duly noticed to the Local Texas Tax Authorities and the Prepetition ABL

 Agents or the Prepetition Term Loan Agent, as applicable.

        39.     Payless Canada Entities. Notwithstanding anything herein to the contrary, none

 of the Payless Canada Entities, nor their assets or estate shall be subject to any of the Adequate

 Protection Payments, Adequate Protection Liens, Adequate Protection Superpriority Claims, the

 Carve Out, or any other liens, claims, rights, obligations or interests created or confirmed

 pursuant this Interim Order, unless such liens, claims, rights, obligations or interests are created

 or recognized by Order of the Canadian Court in the Canadian Case. The Payless Canada

 Entities are hereby, nunc pro tunc, authorized to seek relief in respect of the granting of claims,

 liens, or similar interests from the Canadian Court over each of their estates and any of their

 assets that constitute property that is subject to this Court’s jurisdiction, and section 362 of the

 Bankruptcy Code is hereby modified solely to the extent necessary to permit such relief. For the

 avoidance of doubt nothing herein shall obviate the need for any consent or approval that may be

 required from the Canadian Court with respect to any matter relating to any of the Payless

 Canada Entities or any of their assets.




                                                  -61-
Case 19-40883      Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                            Pg 62 of 70


        40.     Interim Order Controls. In the event of any inconsistency between the terms and

 conditions of the Prepetition Documents or this Interim Order, the provisions of this Interim

 Order shall govern and control.

        41.     Survival. The provisions of this Interim Order and any actions taken pursuant

 hereto shall survive entry of any order which may be entered: (a) confirming any plan of

 reorganization or liquidation in the Cases; (b) converting the Cases to cases under chapter 7 of

 the Bankruptcy Code; (c) dismissing the Cases or any Successor Case or the Canadian Case; or

 (d) pursuant to which this Court abstains from hearing the Cases or any Successor Case;

 provided, however, that the various superpriority claims or other administrative expenses shall

 survive only to the extent permitted by applicable law. The terms and provisions of this Interim

 Order, including the claims, liens, security interests and other protections granted to the

 Prepetition Credit Parties pursuant to this Interim Order or the Prepetition Documents,

 notwithstanding the entry of any such order, shall continue in the Cases, in any Successor Case,

 or following dismissal of the Cases or any Successor Case, and shall maintain their priority as

 provided by this Interim Order until all Prepetition Obligations have been paid in full.

        42.     Final Hearing.     The Final Hearing to consider entry of the Final Order is

 scheduled for March 14, 2019 at 10:00 a.m., prevailing Central Time, before the Honorable

 Kathy A. Surrat-States, Chief United States Bankruptcy Judge for the Eastern District of

 Missouri, Courtroom 7 North, at the United States Bankruptcy Court for the Eastern District of

 Missouri located at the Thomas F. Eagleton U.S. Courthouse, 111 South 10th St., 4th Floor, St.

 Louis, MO 63102.

        43.     Notice of Final Hearing. On or before two (2) Business Days after entry of this

 Interim Order, the Debtors shall serve, by United States mail, first-class postage prepaid, a copy




                                                -62-
Case 19-40883      Doc 138     Filed 02/20/19 Entered 02/20/19 17:04:33             Main Document
                                            Pg 63 of 70


 of the Motion and this Interim Order upon: (a) the U.S. Trustee; (b) counsel to any Statutory

 Committee; (c) counsel to the Prepetition ABL Administrative Agent, (i) Choate Hall & Stewart

 LLP (Attn: Kevin Simard, Douglas Gooding and Jonathan Marshall) and (ii) Thompson Coburn

 LLP (Attn: Mark Bossi); (d) counsel to the FILO Agent, Greenberg Traurig, LLP (Attn: Jeffrey

 M. Wolf); (e) counsel to certain Prepetition Term Loan Lenders (i) Kramer Levin Naftalis &

 Frankel LLP (Attn: Stephen D. Zide) (ii) Doster, Ullom & Boyle, LLC (Attn: Gregory D.

 Willard) (iii) Stroock & Stroock & Lavan LLP (Attn: Kristopher M. Hansen and Daniel A.

 Fliman) and (iv) Lewis Rice LLC (Attn: Sonette T. Magnus); (f) counsel to the Prepetition Term

 Loan Agent, Norton Rose Fulbright US LLP (Attn: Stephen Castro and David Rosenzweig; (g)

 the proposed Monitor, FTI Consulting Canada, Inc.; (h) counsel to the proposed Monitor,

 Bennett Jones LLP; (i) counsel to any statutory committee appointed in the chapter 11 cases; (j)

 the United States Attorney’s Office for the Eastern District of Missouri; (k) the Internal Revenue

 Service; (l) the United States Securities and Exchange Commission; (m) the state attorneys

 general for all states in which the Debtors conduct business; and (n) any party that has requested

 notice pursuant to Bankruptcy Rule 2002.

          44.   Entry of this Interim Order; Waiver of Stay. Notwithstanding Bankruptcy Rules

 4001(a)(3), 6004(h), 6006(d), 7062 or 9024, any other Bankruptcy Rule or Rule 62(a) of the

 Federal Rules of Civil Procedure, this Interim Order shall be immediately effective and

 enforceable upon its entry and there shall be no stay of execution or effectiveness of this Interim

 Order.

          45.   Objection Deadline. Objections, if any, to the relief sought in the Motion shall be

 in writing, shall set forth with particularity the grounds for such objections or other statement of

 position, shall be filed with the clerk of the Court, and personally served upon: (a) the Debtors,




                                                -63-
Case 19-40883      Doc 138    Filed 02/20/19 Entered 02/20/19 17:04:33           Main Document
                                           Pg 64 of 70


 3231 SE 6th Avenue, Topeka, KS 66607; (b) proposed counsel to the Debtors (i) Akin Gump

 Strauss Hauer & Feld LLP (Attn: Meredith A. Lahaie, Kevin Zuzolo and Julie Thompson), (ii)

 Armstrong Teasdale LLP (Attn: Richard W. Engel, Jr., Erin M. Edelman and John G. Willard)

 and (iii) Cassels Brock & Blackwell LLP (Attn: Ryan Jacobs, Jane Dietrich, Natalie Levine and

 Monique Sassi); (c) the Office of the United States Trustee for the Eastern District of Missouri;

 (d) the holders of the 50 largest unsecured claims against the Debtors (on a consolidated basis);

 (e) counsel to the Prepetition ABL Administrative Agent (i) Choate Hall & Stewart LLP (Attn:

 Kevin Simard, Douglas Gooding and Jonathan Marshall) and (ii) Thompson Coburn LLP (Attn:

 Mark Bossi); (f) counsel to the FILO Agent, Greenberg Traurig, LLP (Attn: Jeffrey M. Wolf);

 (g) counsel to certain Prepetition Term Loan Lenders (i) Kramer Levin Naftalis & Frankel LLP

 (Attn: Stephen D. Zide) (ii) Doster, Ullom & Boyle, LLC (Attn: Gregory D. Willard) (iii)

 Stroock & Stroock & Lavan LLP (Attn: Kristopher M. Hansen and Daniel A. Fliman) and (iv)

 Lewis Rice LLC (Attn: Sonette T. Magnus); (h) counsel to the Prepetition Term Loan Agent,

 Norton Rose Fulbright US LLP (Attn: Stephen Castro and David Rosenzweig; (i) the proposed

 Monitor, FTI Consulting Canada, Inc. (Attn: Paul Bishop, Greg Watson and Jim Robinson); (j)

 counsel to the proposed Monitor, Bennett Jones LLP (Attn: Sean Zweig, Kevin Zych and Aiden

 Nelms); (k) counsel to any statutory committee appointed in the chapter 11 cases; (l) the United

 States Attorney’s Office for the Eastern District of Missouri; (m) the Internal Revenue Service;

 (n) the United States Securities and Exchange Commission; (o) the state attorneys general for all

 states in which the Debtors conduct business; and (p) any party that has requested notice

 pursuant to Bankruptcy Rule 2002, so that such objections are filed with the Court and received

 by said parties on or before 4:00 p.m., prevailing Central Time on March 7, 2019, with respect to

 entry of the Final Order.




                                               -64-
Case 19-40883      Doc 138      Filed 02/20/19 Entered 02/20/19 17:04:33           Main Document
                                             Pg 65 of 70


        46.     Effect of this Interim Order. This Interim Order shall constitute findings of fact

 and conclusions of law pursuant to Bankruptcy Rule 7052 and shall take effect immediately,

 notwithstanding anything to the contrary proscribed by applicable law.

        47.     Retention of Jurisdiction. The Court has and will retain jurisdiction to enforce

 this Interim Order according to its terms.

        48.     No later than two (2) business days after the date of this Interim Order, the

 Debtors shall serve a copy of the Interim Order on the Notice Parties and shall file certificate of

 service no later than 24 hours after service.


                                                             KATHY A. SURRATT-STATES
                                                            Chief United States Bankruptcy Judge
 DATED: February 20, 2019
 St. Louis, Missouri
 jjh




                                                 -65-
Case 19-40883     Doc 138    Filed 02/20/19 Entered 02/20/19 17:04:33   Main Document
                                          Pg 66 of 70


 Order Prepared By:

 Richard W. Engel, Jr., MO 34641
 Erin M. Edelman, MO 67374
 John G. Willard, MO 67049
 ARMSTRONG TEASDALE LLP
 7700 Forsyth Boulevard, Suite 1800
 St. Louis, Missouri 63105
 Telephone: (314) 621-5070
 Facsimile: (314) 621-2239
 Email: rengel@armstrongteasdale.com
 Email: eedelman@armstrongteasdale.com
 Email: jwillard@armstrongteasdale.com

 Ira Dizengoff (pro hac vice admission pending)
 Meredith A. Lahaie (pro hac vice admission pending)
 Kevin Zuzolo (pro hac vice admission pending)
 AKIN GUMP STRAUSS HAUER & FELD LLP
 One Bryant Park
 New York, NY 10036
 Telephone: (212) 872-1000
 Facsimile: (212) 872-1002
 idizengoff@akingump.com
 mlahaie@akingump.com
 kzuzolo@akingump.com

 Julie Thompson (pro hac vice admission pending)
 AKIN GUMP STRAUSS HAUER & FELD LLP
 1333 New Hampshire Avenue, N.W.
 Washington, D.C. 20036
 Telephone: (202) 887-4000
 Facsimile: (202) 887-4288
 julie.thompson@akingump.com

 Proposed Counsel to the Debtors and Debtors in Possession




                                             -66-
Case 19-40883   Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33   Main Document
                                       Pg 67 of 70


                                     Exhibit A


                                      Budget
                               Case 19-40883                             Doc 138                           Filed 02/20/19 Entered 02/20/19 17:04:33                                                                                                      Main Document
Payless                                                                                                                 Pg 68 of 70
Cash Collateral Budget
($ in 000's)

       4‐5‐4 Month                            Feb                  Feb                Mar                   Mar       Mar       Mar                                       Mar                   Apr       Apr       Apr                                      Apr                  May       May
       Week Ending                         2/22/2019            3/1/2019            3/8/2019             3/15/2019 3/22/2019 3/29/2019                                  4/5/2019             4/12/2019 4/19/2019 4/26/2019                                5/3/2019             5/10/2019 5/17/2019
       Forecast Week #                         1                    2                   3                    4         5         6                                          7                    8         9         10                                      11                    12        13                        Total 13 Week
       Forecast/Actuals                     Forecast            Forecast            Forecast              Forecast  Forecast  Forecast                                  Forecast              Forecast  Forecast  Forecast                                Forecast              Forecast  Forecast

       I. Cash Flow
   1   Receipts
   2   GOB Receipts                        $     24,433        $     33,695        $     39,515          $     42,076        $     46,075          $     45,951        $     41,899          $     38,877        $     34,312        $     30,028        $     27,587          $     26,218        $     22,835        $           453,501
   3   Sales Tax                                   (1,765)             (2,279)             (2,536)               (2,628)             (2,985)               (2,725)             (2,478)               (2,331)             (1,953)             (1,764)             (1,638)               (1,581)             (1,265)                   (27,930)
   4   Canada / Latin / Franchise                       232                 616                   81                  710              1,589                 3,681                  916                2,059               1,588               1,011                  496                   393              1,125                     14,497
   5   Total Receipts                      $     22,899        $     32,032        $     37,060          $     40,158        $     44,680          $     46,907        $     40,336          $     38,605        $     33,947        $     29,275        $     26,444          $     25,029        $     22,695        $           440,067

   6   Operating Disbursements
   7   Merchandise / Freight / Duty        $      (2,995)      $         (943)     $      (1,139)        $         (825)     $      (3,650)        $         (121)     $         (450)       $         (350)     $         (200)     $            ‐      $            ‐        $            ‐      $            ‐                    (10,673)
   8   Payroll & Benefits                          (8,825)             (1,824)             (9,245)               (3,668)             (9,245)               (1,835)             (9,235)               (3,484)             (7,846)             (1,634)             (7,836)               (1,693)             (8,533)                   (74,903)
   9   Occupancy                                   (1,165)           (10,161)              (4,032)               (3,075)             (1,502)               (9,213)             (3,917)               (2,046)             (1,714)                 (803)           (8,149)               (2,505)             (1,016)                   (49,298)
  10   Other Operating Disbursements               (3,388)             (2,370)             (2,879)               (1,507)             (2,866)               (2,943)             (1,494)               (1,697)             (1,657)             (3,391)             (2,001)               (1,642)             (1,652)                   (29,485)
  11    Total Operating Disbursements      $   (16,373)        $   (15,297)        $   (17,295)          $      (9,075)      $   (17,264)          $   (14,111)        $   (15,096)          $      (7,576)      $   (11,417)        $      (5,828)      $   (17,985)          $      (5,840)      $   (11,201)        $         (164,359)

  12 Total Operating Cash Flow             $       6,526 $     16,735 $     19,765 $     31,083 $     27,416 $     32,796 $     25,240 $     31,029 $     22,530 $     23,447 $       8,459 $     19,189 $     11,494 $           275,709

  13   Financing
  14   ABL Debt Service                    $            ‐      $         (736) $            ‐            $         (206) $            ‐            $         (111) $         (378) $            (30) $            ‐      $            ‐    $            ‐                      $            ‐      $            ‐      $              (1,461)
  15   ABL Fees                                          ‐                 (125)               ‐                       ‐               ‐                         ‐             (274)             (150)             (150)             (150)               ‐                                   ‐                   ‐                         (850)
  16    Total Financing                    $           ‐       $         (862) $           ‐             $         (206) $           ‐             $         (111) $         (652) $         (180) $         (150) $         (150) $           ‐                               $           ‐       $           ‐       $              (2,311)

  17 Total Free Cash Flow                  $       6,526 $     15,873 $     19,765 $     30,877 $     27,416 $     32,685 $     24,588 $     30,849 $     22,380 $     23,297 $       8,459 $     19,189 $     11,494 $           273,398

  18   Restructuring Disbursements
  19   Restructuring Prof Fees / Escrow    $      (3,970)      $         (836)     $         (760)       $      (1,198)      $         (760)       $      (1,934)      $         (987)       $         (710)     $      (1,580)      $      (1,280)      $         (921)       $      (1,689)      $      (1,472)      $            (18,096)
  20   ABL Pre‐Petition Indemnity Acct                   ‐                   ‐                 (500)                   ‐                   ‐                     ‐                   ‐                     ‐                   ‐                   ‐                   ‐                     ‐                   ‐                         (500)
  21   Severance / WARN Act                              ‐                 (472)                   (0)               (476)                   (0)               (472)                   (1)               (521)               (334)               (622)                   (1)               (472)               (173)                   (3,545)
  22   Agency Fees                                     (207)               (267)               (296)                 (307)               (344)                 (314)               (286)                 (269)               (225)               (204)               (189)                 (182)               (146)                   (3,238)
  23   Liquidator Expenses                         (1,075)             (1,075)                 (725)             (1,075)             (1,075)                   (925)           (1,075)                   (725)               (725)               (687)               (775)                 (575)               (633)                 (11,141)
  24   Store Employee Incentive Bonus                    ‐                   ‐                   ‐                     ‐                   ‐                     ‐                 (787)                   ‐                   ‐                   ‐                 (787)                   ‐             (2,067)                     (3,642)
  25   Retention / KEIP / KERP                           ‐                   ‐                   ‐                     ‐                   ‐                     ‐                   ‐                     ‐                   ‐                 (409)                 ‐                     ‐                   ‐                         (409)
  26   Critical Vendor Payments                    (2,000)             (3,000)                   ‐                     ‐                   ‐                     ‐                   ‐                     ‐                   ‐                   ‐                   ‐                     ‐                   ‐                     (5,000)
  27   Utility Deposit                             (1,100)                   ‐                   ‐                     ‐                   ‐                     ‐                   ‐                     ‐                   ‐                   ‐                   ‐                     ‐                   ‐                     (1,100)
  28   First Day Motion Freight                    (2,250)             (4,250)                   ‐                     ‐                   ‐                     ‐                   ‐                     ‐                   ‐                   ‐                   ‐                     ‐                   ‐                     (6,500)
  29   First Day Motion Sales Tax                  (2,500)             (2,500)                   ‐                     ‐                   ‐                     ‐                   ‐                     ‐                   ‐                   ‐                   ‐                     ‐                   ‐                     (5,000)
  30   Total Restructuring Disbursements   $   (13,102)        $   (12,400)        $      (2,281)        $      (3,055)      $      (2,179)        $      (3,645)      $      (3,136)        $      (2,225)      $      (2,864)      $      (3,201)      $      (2,673)        $      (2,918)      $      (4,490)      $            (58,170)

  31 Net Cash Flow                         $      (6,575) $       3,473 $     17,483 $     27,821 $     25,236 $     29,040 $     21,452 $     28,624 $     19,516 $     20,096 $       5,785 $     16,271 $       7,003 $           215,227

  32   Liquidity
  33   Cash Schedule
  34   Beginning Cash Balance              $       9,982       $       2,500       $       2,500         $       2,500       $       2,500         $       2,500       $       2,500         $       2,500       $       2,500       $       2,500       $       2,500         $       6,841       $     23,112        $                9,982
  35    Net Cash Flow                              (6,575)               3,473            17,483                27,821              25,236                29,040              21,452                28,624              19,516              20,096                 5,785              16,271                 7,003                  215,227
  36    Revolver ‐ Draw / (Paydown)                    (907)           (3,473)           (17,483)              (27,821)            (25,236)              (29,040)            (21,452)              (28,624)            (19,516)            (20,096)              (1,444)                     ‐                   ‐                 (195,094)
  37   Ending Cash Balance                 $       2,500       $       2,500       $       2,500         $       2,500       $       2,500         $       2,500       $       2,500         $       2,500       $       2,500       $       2,500       $       6,841         $     23,112        $     30,116        $             30,116
                                                                                                                                                                                                                        52,731              41,637                 2,889                     ‐                   ‐
  38   ABL Schedule
  39    ABL Outstanding Balance            $   125,152         $   121,679         $   104,196           $     76,374        $     51,138          $     22,098        $           647       $            ‐      $            ‐      $            ‐      $            ‐        $            ‐      $            ‐      $                    ‐
  40    O/S Letters of Credit                     35,820              35,820              35,820                35,820              35,820                35,820              35,820                   7,842                   ‐                   ‐                   ‐                     ‐                   ‐                           ‐
  41    FILO Outstanding Balance                  33,215              33,215              33,215                33,215              33,215                33,215              33,215                33,215              21,541                 1,444                   ‐                     ‐                   ‐                           ‐
  42   Total ABL                           $   194,187         $   190,714         $   173,230           $   145,409         $   120,173           $     91,133        $     69,681          $     41,057        $     21,541        $       1,444       $            ‐        $            ‐      $            ‐      $                    ‐
Case 19-40883   Doc 138   Filed 02/20/19 Entered 02/20/19 17:04:33   Main Document
                                       Pg 69 of 70


                                     Exhibit B


                                 Canadian Budget




                                        68
                                                        Case 19-40883                                     Doc 138                             Filed 02/20/19 Entered 02/20/19 17:04:33                                                                                                                Main Document
                                                                                                                                                           Pg 70 of 70
     Payless Canada
     Cash Collateral Budget
     (US$ in 000's)

     4‐5‐4 Month                                                                  Feb                      Feb                    Mar                     Mar                      Mar                      Mar                      Mar                      Apr                      Apr                      Apr                       Apr                     May                      May
     Week Ending                                                               2/22/2019                3/1/2019                3/8/2019               3/15/2019                3/22/2019                3/29/2019                 4/5/2019                4/12/2019                4/19/2019                4/26/2019                 5/3/2019                5/10/2019                5/17/2019
     Forecast Week #                                                               1                        2                       3                      4                        5                        6                         7                       8                        9                        10                       11                       12                       13                 Total 13 Week
     Forecast/Actuals                                                           Forecast                Forecast                Forecast                Forecast                 Forecast                 Forecast                 Forecast                 Forecast                 Forecast                 Forecast                 Forecast                 Forecast                 Forecast

     I. Cash Flow

 1   Receipts
 2   Canada Sales Receipts                                     $          2,524 $          3,526 $          4,361 $           4,516 $           4,719 $           4,395 $           2,797 $           1,749 $           1,382 $           1,071 $              684 $               ‐                                                                                                   $               ‐       $              31,724
 3   Canada Sales Tax (Net of taxes paid on good and services)                 ‐               (220)                 ‐                  ‐                  ‐                  ‐                (432)                  ‐                  ‐                  ‐            (1,623)                  ‐                                                                                                     ‐                       (2,274)
 4    Total Receipts                                           $          2,524 $          3,306 $          4,361 $           4,516 $           4,719 $           4,395 $           2,365 $           1,749 $           1,382 $           1,071 $             (938) $               ‐                                                                                                  $               ‐       $              29,449

 5   Operating Disbursements
 6   Payroll/Benefits                                                         $        (1,177)        $              (79)     $        (1,304)        $                 (4)    $         (1,233)        $                 (4)    $         (1,245)        $             (837)      $             (450)      $                 (1)    $             (433)      $             (566)      $               ‐       $               (7,333)
 7   Occupancy                                                                          (1,098)                 (1,288)                       ‐                  (1,288)                        ‐                        ‐                      (389)                      ‐                      (389)                      ‐                        ‐                        ‐                        ‐                       (4,452)
 8   Stores                                                                                   (42)                    (42)                    (42)                     (42)                     (42)                     (42)                     (42)                     (15)                       (9)                      (9)                      (9)                    (13)                     ‐                          (351)
 9   Utilities                                                                                (28)                    (28)                    (28)                     (28)                     (28)                     (28)                     (28)                     (11)                       (9)                      (9)                      (9)                    ‐                        ‐                          (234)
10   Operating Expenses                                                                         (8)                     (8)                     (8)                      (8)                      (8)                      (8)                      (8)                      (8)                      (8)                      (8)                      (8)                    ‐                        ‐                            (85)
11   Insurance                                                                              (126)                     ‐                       ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                          (126)
12   IT                                                                                         (1)                     (1)                     (1)                      (1)                      (1)                      (1)                      (1)                      (1)                      (1)                      (1)                      (1)                    ‐                        ‐                            (16)
13   Interunit‐Service & Mgmt Fees [Worldwide to Canada LP]                                   (25)                    (25)                    (25)                     (25)                     (25)                     (25)                     (25)                     (25)                     (25)                     (25)                     (25)                     (15)                     (15)                       (305)
14    Total Operating Disbursements                                           $        (2,505)        $        (1,471)        $        (1,409)        $         (1,396)        $         (1,337)        $             (109)      $         (1,739)        $             (897)      $             (892)      $               (53)     $             (485)      $             (593)      $               (15)    $             (12,902)

15 Total Operating Cash Flow                                                  $               19 $          1,835 $          2,952 $           3,120 $           3,382 $           4,286 $              626 $              851 $              490 $           1,018 $         (1,423) $             (593) $               (15) $              16,547

16   Restructuring Disbursements
17   Restructuring Professionals                                              $            (724)      $            (468)      $            (503)      $             (446)      $             (431)      $             (370)      $             (347)      $             (397)      $             (389)      $             (386)      $             (364)      $             (289)      $             (264) $               (5,379)
18   Severance                                                                                ‐                       ‐                       ‐                        ‐                        ‐                        ‐                        ‐                      (578)                      ‐                        ‐                        ‐                      (250)                                             (828)
19   Agency Fees                                                                              ‐                       (25)                    (57)                     (68)                     (64)                     (72)                     (58)                     (28)                     (24)                     (18)                     (14)                       (4)                    ‐                      (432)
20   Liquidator Expenses                                                                      ‐                       (93)                  (121)                    (121)                    (121)                      (98)                     (91)                     (86)                     (41)                     (41)                     (18)                     ‐                        ‐                      (830)
21   Store Employee GOB Incentive Bonus                                                       ‐                       ‐                       ‐                        ‐                        ‐                        ‐                        ‐                      (616)                      ‐                        ‐                        ‐                      (267)                      ‐                      (883)
22   Employee Incentive Plan                                                                (202)                     ‐                       ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                      (202)
23   Critical Vendor Payments                                                               (300)                     ‐                       ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                      (300)
24   Utility Deposit                                                                          ‐                     (112)                     ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                      (112)
25   Gift Card Redemption                                                                     (27)                    (27)                    (27)                     (27)                     ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                        ‐                      (107)
26   Total Restructuring Disbursements                                        $        (1,252)        $            (726)      $            (708)      $             (662)      $             (616)      $             (540)      $             (496)      $         (1,705)        $             (454)      $             (445)      $             (396)      $             (811)      $             (264) $               (9,075)

27 Net Cash Flow                                                              $        (1,233) $          1,109 $          2,244 $           2,458 $           2,766 $           3,746 $              130 $             (854) $                36 $              573 $         (1,820) $         (1,404) $             (279) $                7,472

28   Cash Schedule
29   Beginning Cash Balance                                                   $          2,706        $          1,473        $          2,582        $           4,826        $           7,284        $           8,485        $           8,920        $           8,697        $           6,084        $           6,084        $           6,084        $           4,265        $           2,725       $                2,706
30   Net Cash Flow                                                                      (1,233)                   1,109                   2,244                    2,458                    2,766                    3,746                       130                     (854)                       36                     573                 (1,820)                  (1,404)                      (279)                      7,472
31   Canadian Excess Proceeds                                                                 ‐                       ‐                       ‐                        ‐                  (1,564)                  (3,312)                      (353)                (1,759)                        (36)                   (573)                      ‐                      (136)                      ‐                       (7,734)
32    Ending Cash Balance                                                     $          1,473        $          2,582        $          4,826        $           7,284        $           8,485        $           8,920        $           8,697        $           6,084        $           6,084        $           6,084        $           4,265        $           2,725        $           2,445       $                2,445
